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  44 :L d




             LS s cCvORi




             VACCL!'
             NAL CULC CULKNU CICAKA crafccc 1uc44 ratJAGgt          (M-CLNL CC7LC1 UNVM.C1 1rA4I,A.C1
             LIQUIAL<CJ CGLC1 UNVAM urAwada VACACL' CLCICCUCU 4CALCl rac. Cit. ucg.1.4. 4„4' cl 6T EQUIC
             UrNfAC1 UC,4` CCM!. Quatt.' ECCCILC1 UNCAL ta.n uNcrAto urAgrAtcl l(ACACU'
             CLQ CCUCU 4CAL110.4 NUL' LLf.tCL
             Gi,C14 UttC4LL:: utwao uc,.44 Ul LNtlIL lUl C(ULKU caa To ZT To NI ccrt(CL uacal. 4c1..•

            turmaul.) (cm, Szz)' IsrAco4-1396T'
            tuategt.ti)      8z,€)4 iS(4-01.61 ta6a) i/TC>,!) c,gt cs.n. C 4t UNULaLL (4KC(LLI (cULLU
            C4LaLf L1tt4Llt: CUCAS Call! Cain!' KC‘LU 4Gt QiCtL IS(N) cgt CLCL Ut,L.NtU C(ClUlt (clALU

            CLCL NtltitECtleAZilLt.: (OW TO/ESZOT Xtf.()


            VACASL!'
            CCALCC Nat.. cuLt CLILKNU actgl.), anti. uuc4t.l. (AULGgl, CCt aLCINL ccLa UNc.(ALCI UrA4lr"h4.0
            UCKANL4Q CGLK1 UNVAta UtactfAcQ tamcu` CLQ Cala! 4CALLI                                   Ct 61
            UCN(AQ          r.C(161.. UNCAL' CC4C11O UNCA.L. CGLC1 UNUACO urA4tratc3 tacmcu` tcucac.t
            CLQ Cala.: 4CW-a (AC, NUL' LUci.Cl:
            GLac U%41.1.1.: UCWAQ             T.:NcaL iLl C(lit&U 4t' co.Q TO'n'TO Nt ECUCL uctcaL

            ithlaCR.0.) (Cali SZZY WACsiU-S96T
            LLOACILL1) (C44+ 53>_E)` Lzosu4-0.Z6T tort'a> tr(...1) cgt cr_ct. c44,. UNULaLC qCCcLU CcULLU
            MAYS               KU.C4I-C Calla CCLICU' (CC4.L12 4Gc ortc6 T50,0 4gl CLCL LULNI.LC c,ctutt. (tutu!

            GLCINt.c640 tracraw:           TO/E8ZOT x440


            UrA4VA.‘„Cl lo'APLCLY
            ;am catut' Nat. CULL CLCIKNU C(Gcgl}.. ani<Ct ULIC411 (ALACK4t. C5c ataTqL CCLC1 f..a.hatct
            UCAILNLACI EGLO UNcrALCI unictoo.o mato!' Kul cam! c.cat.ct (1\4       t4,crota4.4.( tog' cl tiT
            UCWAQ                   UNCAL' Cadt.C1 UNC(CL EGLCI uNtrata w-Actaccl VACACU` cart act
            tt.fa ecucu 4C4Ull CA4 NUL` LUct(l
            OLc14 141/t444: ue4tA0        Ut CNULL tU1 CallcU 41‘ CLQ TO'ZVIO               UC1CaL cd!

            ittaira-1,1) (cm. 5zz)` uaci,u-S96r
            tuatcrut) (Cu, szEY tra,,4-0Z61 (0646 O(N) 4gt CLCL C44s. UNULa.0 44CCa.0 (4.LaLL:
                   1:41Z4LUZ CL(Cai MR/ MAC& ncLU 4Gc ,044.4 I5(N) 4Kt CLCL LRLIALT tcClUlt (i.ULLU

            mg% Nt.zstoa cuct4rAL:t (G'X' TO/ESZOT (C(a)


            trmutcu•
            cc.ttu-t' Nat_ CULK ClaKNU C(G(gt)s.CiCtiCC4 UUC4U Utt3      CGt fALML CGLCIUNaALCI LVA4L(AtO
            uctuivt.cct ccLct t.Dsztratri ura4mcz tacitcu' CLCL Ecusu 4cturt ac ct4t txti,t,c4(       cl ST
            UCNaC:1 UC.iC,' CCAAL uNcitk: ccrcIto uNatt... cci.ct uw<3-Atc.3 ump.ate.ci VACACL' CaitrAcl
            CLCL tCl.LCU 4CALa otc NUL` LUti.Cli
            o4n4 LsCtt4L uNato                  crztat. tut. CiLaSU 4L' C(10 TO'ZI'TO )p. CCM!. unutl.

            ((MCALL1)       SZZY ItrACi,U-8961.
            tuatc(t.ti.) (cm; 8.40' 1.10.4-0/6T tarctL bt(N)              CLCL c446 UNIULO.LC 4(tco...0 (tuti.t:
            cwtts            Kt.tcas cAttit r.cttcul gto...0 4Gt (.161 TS(N) 4KL CLCL IILLN1LC C,,ClUtt (WW2

            G4C1NLCACI t4t.C61.:: (G'X' Toifszot
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              ru EO'C'11£                                        8f '




              CNO.LL. LCiN4cL.:"
                                                UC4CLCU rig4N.11.1     (ALM L.Nra UtUA LIKCNI<Lf fAc:, NULL L2UCN4
              UCIa. LJUE4U            Uittr_Lt KC-a4.1.11111.1.1.1111.11' uaCtsu ,,g4NU
              guatuo cdt.citc,,a (A4 Ca.' LCI.             UNICt uzcie mr,11..Q.ct Cllealt0:2 Q4r.C,c:r
              UCNIMCI 12C,4'          LINCAL.' cLaNt44u Nl toad                        a4vAll crag,.       mrat., L20.
              CKKL2' LIG}, ML}., NI. CIC4.1.` 4{N Lte(1.1.Lf LciCL eauiaclu     aCcIt. KCNIL Nl cmfccit.'
                              LICWACI                                 TOOZ NIL tIf.ICiLL 4c1.' 44gi.      UUCAL('

              kumtc(ul) (c4a, 9/..d Liat..4-0Z6T.
                    u,r(c4Lu: LcKLL, uck City L` KtLLL:          aK41., £5(4)(E) Csl cLcL uLL.Nttu COLJLL (.MLLE

              u‘a LIC4Lth<C1 WW1,:


             C4CliStc.           Cat", 4icallf CUCI 00.CILA NQ CIULLt KL!,, (LC Al 4l.cm441.4.
             “uuck<0:,          LAGL/J.L.I' ccKL ata c(orcc4 uc4u•               tL.cirA           cLLRL- fVLLLI Mt,
             INN/AO 14C,,4' tICOAL UNCat.' CL.C4N4L! NL rLiCLLL 4cf..`             cdrata                      LNA
             QRKL!' UG.N. CGL?.. Nl C(CKLI.1                    rAuLacclu Ca.,       RCNIL            LUk4o. •
                      ulvt4(.v: LICNOtti 1 I     CNLILL.' ECILL Mai IOU NI. taCill.        .ArL.          Uuakr-me

             watc(La) (Ca, 8LS)r iSrA, 4-046T'
             MM.; tztTC4414: ccRI.L LiG!L autti.L1 Kr.4Lu 4c4, arca, Es(x)(f) 4gi CLCL LILLNILLI COULL (42UL!

             CLAUC.44(ALC3:


             CKI:fCL L2U1-.414.' CGL rAttLNIL tGLCI UNZLCALCI ur.,4tacca tatcacu.
             L:L.L.ILELLS                         LAX die! Lcc4,. Lcr Nat. u‘t Cacho' was._ a UtGact rwau
             uca.ctNL4o a,Lo LINILrh0:3 LVAALacci leaULcur rt.O Ctd CCL 4ru,a        urcad uccoo‘kca cuLta,
             UCNriiO uc„4' rata, UNCLE' Cc4clic) UNC41.1. Ea.°, UNUALCI urAcLa‘ta ifac(Im' tc.:4(Acl
             LLLl Lata Nt ceK c( Cala laqt ci.a‘
             GL.C14               L.ICNOiC uc,,4' ul CNO.L1.. (La miLgu,      tLLCI      CCUAl. ucicaL

             LI:AWL-LI) (c.(af   LVAC,,L1-8961'
             LUALC(LLL) (C.10, Szt)' Lsa ,,4-0461 uaKtio tyr(N) 4gt CLCL cc4c uuuL,Au ocatu (wli.t2
             clua izno.u.: [lad ruLt 4Larai IICLLU Cpc C14(6 Eg SFL CLCL uLt.mts a.nut.t. (cuu..0

             GLA 144c4u0 tiltARL41 (ow TO/ESZOT K4a)



             tC4 144,C1'
             =RNLI CIGLKOL aCIiSCc ut.st4u autcic4t. CGc maxi. ZGL.CILINiALCILIa400:1LiACCLCLe CGRIII. 16T
             LIC(ULNLa3 CC.LCL UNcfa1O 1.1rA4LrAe.C1 VACItCle CLOU 4YLLQ Co'LLta atc N.LUcCI t.cccs CC4
             4CNUMZI          UCLI.61.         tod&o uNcaL ra.a uNvrosa uratrAz.la trhaLEL!' CaccaLL
             coau 4C1.03 taLCL! 4aLla :A4 NUL.' 1.1.1“Ct. ,
             61.CIL LII LUt L.:(NrACI                     lut aw.Ku 4lr cuo TO'Zi'TO NI. rcar(i. unati. 4c1:

             (Luau tuatccul) Cals, 5 zzi. izac,,u-896r
             (cuu.0 iurAtc(uli (Ca, 84E)`            LtIALCLCI t/T(N) 1-61 LKl C.L.Ct. C4Cc umit.,(04 4rx‘i..0
                   LAC.0.1.1: CLOLLL 4CL.cciu auLT Ccuru' KC.LL cct       Ts(x) cAL CLEL             CLOULL

             GL.t1 /41.C64C1U7LCACU: (ON' rO/ESZOT fiat)
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  9tv :L d




                 tOME£                                             61




                      G.60.6 UULME.S.t.14. UUULC{i.
                                           LiC(CtEll i;K4NU Z41' NC,                            UULKNU 40.fc4
                      ;Nut_ aL.nuacl c1(.4.c1             UGLLIS LICG}N.Ucri . UCN(Q UrcaLU ENC(KALC

                      amt ap4,..ca cuica. ccV 1,2cuacl L1LCcC cca cacti, int4u (1-m1. Lc UCC 4(4'
                      Ut(LtS.          UC6.        utLcru quaLu C1Li LCik:         ;4c ULL.LCIL CLCtC7 tc4ci.(14
                      uturm          4rdatts1 (?,4                 UtgrACI ccRL.' CLONC,c,U N. tarAL 4c1:

                      C:4 ~iLLIU ccusu 4 LtO 4caLco fa4 NCraca LZ‘C1CCC,L;Ci.L(t.
                             CcLA Cc Ut.N(ACI ccCL UrkLIZ CGS (MU. aur4 alma' 4'{M.{ ALNULci. c.tR6 G.4C411;
                      CgLt1,1. uuc(4a'                             UUCLCU. ,Sch2L1
                      cl.ruccg ucLa ca.), zooz' cc..ccw411 xi, mull cc!: UCNAC3 ccta      UNU1-gc KC,kt

             KLO LCLASU 4CRLCL MC, NUL' 1..Ucc(t .
             GLAa 1JAC444: uc>u     LtCh.Ct. Ul CNULL tl l GiulKl 4L' EcLCI ZO £0 .60 ?dl CMu41, LICISAL 4(1`

             turacau.l) (c44, szzy Lcaci,u-s96r
             tuaLc(_t,t) (c(cu it4E.1` klrA;;-0145T 1.4ickL 1t(N) C,FI ti:CL C44 UNULatE CccCcLU (cLLLL
             VLRLf UdCw.Lt CLcC c Chit COS& rfte.LU 4G+. ailc10 T5(N) 4c1. CLZ.L ULLNIA1 r‘nuit


             Gt•° QC44 a40 INIJ-K4 t (G14. ZO/ZTST qc441.4)



             4c4KL(C c.c.rcK UURCL,Le acL gcCl. Cad CANLCI ctKit G4.th't UI.CNCLIit Ld 64 cats               'NU XIV
             ucwAci (tot. Kitt Ciad(lLta UC4                          xrAL, 14(?     Cc cN 4.kficg N LINLC1 UC;rc
             Z414.404 L:Gictql KQCLULLC UM.CSULI, LVALNC,ccEr
             Ltitt,'CLU Cc UNIX LIC;,4 aCC(.4' CNCfgal.0 ZsglA Gc(1.6 UtillgtLaf' C.11-11. NL ri1C:2 grci.' (guru
             UCgrAQ ugaco trALLMS fcC1           14C;:c LICN(A0 uLcLacl Ca um..ca us."4 NUL EIMxi UM./ 4N1.1..
             CLAW. 4tKfc
             UN.L,C1 U{.;;4 XL.d. tfiNLC        Gctlat UUNCLILL i.Z4C1(?; Cc UCNCAQ cCLA.C2 NO UNLO UC,;4,
             NC daxo:,' UILLK UKCNcU r74 NL.Cll uucma' tNciti. LC.(gcLI'                                cult, 40,trata Cc
             td auk.                                      uact.cu ;;RC,NU j‘,                    LgfA ;ALLL.c. tit N-Lu
             LKNACI LIC(4 caka. UNC41,1.! Caa '1-,C4N44L). Sca TLC] C4LCC. ucwaa cam. ‘cct Loqua UC4 (cc-Gl
             Nt. Ccgrc trlcLili CC, .ULN trACA4 ULNUIALS Cox‘ cattIC LL'AcCl:
             0444 141ItiL14; umaci c2t(4 cNokc BULL(? GELINL tooz                taC4(i. (4CL' (Cc? LI KCI.J.L.1. (4 ac..kN

             ULK{U (i-M{L{ UcLI,{1)' Ste'
             C414tii 141St43..:: CtgkIC AI.LLLC iCCLL, ut..cxuLt.L.c t4Lcc catrus' fcccLU       isr.ku sswit) 4Lrelau

             GLCIL4t1404.40, trAt;WALt:


             Q4UL LCVMS Ccc LiCaka uco4'              acu..ct 4a.t.
             uuamcs
             tio4610 cisK NU' UNCdtL 0.4 (CC,-Cc cdilt4i. (44                                 CiCc4 gCNc tgLti.1
                        ccsaLc ECLILcO tct Ndi.0 it KG CakiltaS           CCLI,L4C1'
             (UaCLCU ;                i)r NUL CCLgrAc L4NA.Ka f4C1,144 U4t NANdENI,' Li,C;;L C.I4K.CaRC    aLic
             UCgrAO. Ur,/ 4' EC(La. tluaLC LL,C044412 NI racaL          LCO;
             NULL{ EgaL. aq.lcas‘ 4CN UcLCL utskca K4-(1..< C(GaL UNcaL NI C4C1 CtU LL ccCl
             ot.a4 4i{t4.(.11: LtgrAC) U.C;;C,'        CaLic4Li (1(U ZOOZ. gl        4(1: aut. NI ccOd MILL

             CcULLU 1.14(M.C(Lt.t.) (Ca. f'Z}' 14r7scuu-896r
             CIALS. latcri.L.L“ CAUL 1-:‘,1.1.          icrALLI               (Kt tLCL KcC1iL cwt., cgo.L vc„uco..c‘

             bt CI vatritoz trAC640•%
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  Lt:Ld




              £0/09C                                               OZ




          ClCi.KWU          Ctartl. UUt4U (1.11,Grt4 CGt (WM. CCLCILINVALC UUCkratO 4.NL.C6U'
                     CCLC1 UNti'MQ Luc          .0 f..XLEKU1 CLQ ZCLI.CL!. 4CRLEt. irh{ C44 ttl.tCt 4„4' xfhL CULC
          LIC>VAQ LIC.4 LC(IsCL umutt.' cuclta uNatt. CC14 UNtrAl.C3 uuacotto LNLCKU.' CC(ftrAO.
             CCIACU 4C(1.,1-Ct 0.4NUC LLttfl
               ugr4CT.,,TF UCI•1raC1        ut CNtIll. 1Ui COAKU       Ckl,C3 ZO`£0'60 Rt. LCILKi_ uauti, qzL

          kuAkCA-(t) Pa. SW' 1-CaC„U-996T'
          tuataLtt) fc(4, 92c)' ts-r-A,4-04,61 taKa,                    c,Rt CLCL C44t UNULttU 44W‘LU (tUU.U,
          tilAtt         VI...c.Cal CULLS ZCti.CU` r(CtLU cgc,              TS(x) 4K1 ELM.. UtLINZI.LC Ccttult (sULLU.

          cLa t4Citt?441:14t4C4s.Ritl.", (01.2' ZO/Trct C44.‘4,U)


                  CULL CLCLKNIU aGtga. UCtl.11 LICO,.CCO.C-CICU i,utacci„ CGt atstm. 4;4‘c
            0r    ccutr-mt ucitco.41-to 4i-c(4` ucmaca uc,,4 CLC7 cal.CLI 4CILL.CL r"?11•Zt1.1.41:11.14C(40. Ihr4' xtaL

                  NC(AtC1 LEtC1 CC4 UNCIAL'
                  Nat.. u,u CNLLCU mitt: Ulal! )41.0' LUCK‘.4 xU urtur- UCt UC1,4 CCIACI.! 4rt.to 4CAlLICI eu;
                  CLC. xU UTLI-LC       xtuu ttfiL 4C(CILU 1L U042atC1' CCCC:1 )44                  „C11.C(CO„:'
            f,    racol caKu oc- ;ZZ' Ctla ZCYM60 xl t'CUlgt uagLI.                              NIAL CIAN

                  Litr.t.41. xLX                     cCtti-d.CU “C11..C4C0„, UCLIK?•Z ELLItt 6A.0 Ct1.1(T:40'
                  KC!                         ur4c 41.s uauc4 UCANCI. 4l.la14(0' „
            8.                     CGtOt      uciur LICOSNEL.                         zucha uKrtt.' 14NUL           t(t.m.

                  UCIGCret' N(AL 1,4kUl c.16 UCNACI i1C1
                  L1CtCX CLCC U4ALL1'                                           UtC441. xU                     C,C(dm
                  ueattts fAccat 4E‘u                                                               cam Cilli. 4C4.1.1.
                  Ci.Cf. T.4U UCI.L.Lf     UC„4' 4trucu r4lCiALC           Cl-tUu EL,C(R441.! Wit NLC
                  put. act'                     c4t.u. (CO                    4tt                      Nem_ cam 64

                  4KILL CcgiAc we ULCI4CIALL'
                         LIC,C.VA                      Uta.L.0 uwkix(AL UtCCU K[,-tl-t U0.1((0' CNC(LL
                  adta ucrarA cual. cuRt emu R4 actt                           (4MA UCLLU CG).'
                  CGoll ca                    Vea                                                   AC( 1,214
            9'    cosa tacit' 7.0 .£0.60` tarkttu 120t6U 00 'QV CLC4244411 Nt

                  4/dAtUch xlLU4 ucaltza oixtuL g-41,to4ct                  tuttcy
                  Ctf:CC atLLcC1 UNc.:.11.. C41E-dal iiatcgo‘,            UCCli Catit UULCNra.1.11" UOU?Q Lkuu
                  Ktu Ctl.,leacCI'                  CtUl..
                  LICILiNtC1 c-E,.nuc ccttit LIUUNr..1.0.1 UULACC WIN - C(.1.C-41C11 „C(I.CiCCI„ LICCMN CLUIC
                  UUUNCL.t.U" 4WUL. aact. ccitca MIMI— au W4                                     'Ct Nt1.41. CiC.11.C1
            C'                     CCM                      lEtC).04 C,NUL,               UCiL.C144.0 4aKtic Cttl.K

                  adto                         CttlK UUUNC1.U.C'
                  UNULtk <CCU                                                LIC4CLCU =MEV t‘tc.14
                                           CCU CO x4                             (=VII .                        tCtdrA Cc
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              kl•   !YOU




             cutsuu c4gkri),, cmict uuc4u autcg4 cct aLCU1L. CCLO UNtAlG1 uucc(o‘o t.NLCKU.
             UaLtiNt..tGl ta.a UNtALC1LI.UGRAtGILNLCKLI.' US:SG-CUM C,GILL.CL A4 MLA. C.;44det 1,4 NAL :LS
             UCN(AC3 LIC„4' CCALKI- UNG(LL' tarl1R UNCAL ra.c1 LINtALC1 uuc.o<0 LNLCKL!` CUKAtt
             t    CCIACL!         a4 NUL' .1..L4tal
             GLac aitc4t7irt ucwo              ul           CULL 41.. ctio Z11E0'60 NI zcaa utaml. 4cL'

            Luotca,a) (cm. suY LCOIG+41.1-896r
            ILMCALLI.1 (Cal, SZE)' LiAit4-0Z6T tart41, vr(v) 4r1 cut C4t. UNULtiLf 4K7tLL.!
            CULAU urMi1.t4; tt.tca: caw rciAcu' fcco..0 4c, 0646 Ts(N) 4gt t LtL ukonix c‘clua

             "A 1-"rucl usrA414: (014* ZO/ZTST citt.4u)


            GLCISNL!          CiOKL LIUGGP ALKG64 CGt ALILNL. CGLO UNtALO uuataLa i.NLCKU.
            LIGILILNUGS CGLa uxkoLca uuckoco (NLEKL2' tt_c3 zattU cala! rA4          Ld 1.,4 Not. cuixu
            L!CNACi          CGILAL             CadlCI UNG(Ll. CGLO urkrato uucw14.0 LNLG6t2( tG4KAtt.
            CLO         cW.L.LL A4 7+ZUL` LL.:(ca •
            C4C14 Lgtct.LI: ILCN(ACI              atcaL tU4 C(LIML: rag zO'£0'60 NI tc41.M_ uackl, 4c1.'

            LUALC(LLI) (CM, SZV'LCACirU-3961-
            Luatuut) (cm, SZiY iso.,4-Oz6t lamb vc(N) 4m. MM. C4c LINULLLIC
            ULM( U,M1.1.4: CLAWS GM'S CCi,LCUiKEtLU 4Gt AK4.14  CLCL ULL,NLLC CtClU1.1

                    LICitripta VACACL:: (014 ZO/ZTST


            CL-17LKNLI C4G(K1). Cic1 cI ULICAU AULC6c CGt ALCLNL CULA umoto LIUGUAtG1 LNLCKLI"
            1.2.04LitNLtE1 CGLO UNtALC1 U.LIG(tiAta I.NLCKLe CLR cookru 4r w. rA4  Xtt4lc4, 4,74' N(AL. CULt
            ucNoo uc.,4' cULKI. UNGat.' racit.c3 uNco.L co_ct uxoLa uucivA(ci txLcrcui CC4KAtl
            KLO CGLISLI 4C4Lll'l A4 NUL' LUtal
            C1,44, L'rorG.I.LUt L/SNAGI        CNtILL LUl CULL 4.1 rac 20'£0-60 ?•ZI. Cauti, uctati, 4c1.:

            Luatc(ut) (cm, Szzr Lr(Aciu-8962,
            LuaLaut) (cm, 8.,    S)' L4rA., 4-0L62 tarccil KM) 4KL cLrt. c44( UNLILcllr criEct.U. WALL;
            Clt4ti4 4itc4L,14: CLAULS CAW CCLICle KG‘L.L.: 40,.126a: 15(N) G,CiL CLCL.   CcaLla

            04C11.404a4C1trAtift:••        ZO/ZTST C414440


            CuLW GUMMI GiGtgOt QOM. UUC41..! AL.M.G(C4 Ccc mum. ca.ct uNuma LIUCAMACI INLC6LF
            L!CillkNL4Ca ZULCI uNcracca uuckm‘c INLCKL:' t1.0 Cciktu 4atuu o4 44a41. rt (Luck          NAL
            urNaa           CrA' LK1-         CCalLGI uNaLL ccLa ux(oLa uuuotco 1.NLCA1' taro‘i
            CLG1 CCLI.CLI calla. A4 NUL' LUttft.
            01.414.          USNAGI              tNtILL lUt GiULRU 4' ttLG1 Z,Cli(Y60 NL CCttrc1 UOCRL

            LUALC•SLIL)      SZZY WACoiJ-996I'
            ILI(ALLULll) (GC, 81.0' LS17.4-0261 L4K44) 'K(N) 4M, CLCL C44. UNULaLC qttLL!
            COALS Wirt<414: Ci-cC41.1     rctuu.          C,Gc. AK,L, tS(N) CCI CI.CL. UILNUS Ccc uLI (CULL:

            GLat4C1444.13 triktrALZ: CON' ZO/ZIST C41.441.0
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           11'4 comfit




           WW1 CLILKNLI. CIG,S11 ackA uuc4u attic CC, cc,. (-AWN'. EGLO LINtaL0 LII1C.11.(14..0 INL.C61.4'
           1.2C.II.CLNL40 GGLC1 UNVAIQ ULIC.44.640:1          UCLICL.' lullIL at4 t4tt,o4 NuLtz            NAL
           urNact LC4 CCilKl. UNCLE' cacka UNC.1IL ta.C1 UN(.00.C1 uucwho IN1.7.0.1` tc4(1(A‘l
                               (114 NUL' Wi.ta
           c1.44 urMt.k.r ucxeac3 urf.4* Ut ENtILL.            41' caa Z0e £0.60 NI Cala utacai

           ILI(AlC(1.0.) (c(C,, SZZ)'
                         (C4, SZE)' Lsl7.icr0/61" larc<t bTN.) 4gl ci.cL c44,. UNULLILC Pctat-Li (4.0.1.1J
           QUAL:              ct..t.Cas MILS CCIICU.' RLcLL CG< cuccio TS(N) cgt. LLCL UILNIU L‘ClUIL (L.ALL'.

           0,a a4r4(12 ka4tau: 40'N. ZO/UST CA( ,04)



           cw.RNI.2 CiG..KO.C.1061. III1C41.1(AIIIG44 C & aLsim. tql.0         uuc4aco usa..cicu.•
           uc4i.ro41.cci rcLa LINUALCI Ullact2L,C1INL.Cra.0 CLa CCUCL14C.10412 Thy 4ZUZ k;s1 4//4' NrAl. CL1LCLI
           1.:CNMO                     uxcaC curium w4co.t.. cct..ck uNcaio uuckfacci                    CCIgrAd.
           CLQ CCIICL!. 4CW-ft. eac NULL
           ct,a4            ucxaa Uc„c` LEl ZN41.1L. ILA                     ZO.£0• 60 hl CClIRE uctud. 4c11

           turat.out) pa, 5ZZY LtrAC,,11-896I'
           Lual.c(u,k) (cia, 920                            tit(N)       c.t.cL C4< lINULtILC rStcl.L! (WILL
           C4U1.4 4KZ4L4: CLcC L Collis                       Gc        15N) 4gt CELL LILLNIU tcaUli (WILL:

           m.ck atm° tatt<a:               ZO/ZTST C(LL412)



           CULL CUUNLI i.".4G4.gtk Cal41. uur..-411. autc64 CGc aLrixt. CGLC1 maLca IIUCfcracCIINLCKU.
           ISattINL40 ZGLC1 uNcream uuct<acc3 L.NLEM..t. CLfl r.CItcL: 4CalfL: rA4 c144 N4cui,              ,•tat.
           ucNzacl ur,,c` ccitrt1              ccaitc uxact. cGLC't um.rnoz ULM/Act:I                    CCUSCA4t
           CLQ CCLICU 4C(IIII       NUL' LUu(I
                  146t41.1..r. LICNAC1                  ILA CLAM!.      CaC1 ZO'N'60 NI Z=.:(11q.. LICIC(LL

           iuriti.ca..tt) {cm, szzY uac,u-9961'
           turaLc(...a)       SLCY ulA,,4-0Z61 LaK4.1 vt(R) 4Kt CLCL c4q UNLIL.,.ux 4Kci,Lu (c.UU..0
           CiLatt LtRZ<LIZ: CLAMS cmtu: Ccucif (SCOW 4Gc tlf(a..5 15(N) 4KI. CELL LILLNLI.0 ccnukt

           04Ci (M A03 IIN444..: (OW ZO'ZTST WAAL*


           CISISNU           c4c11, t.:Ut411raLIC64 CZc aim& rcLo UNOICIuuc4,.ava INLZKU"
           LIC(4tN1...C3 CGLA uNf..ato uuckrikko              CLCI CCLICL! 4.C4111. LAC, ct.U. 4lCi. 4,f4' NA L CLILt
           ucmla            tatKL UNCRL` c*(41.0                 cuLa imago ULICIVAQ                         ZCA(VAU
           CLO LCILCU 4C(ILCI LAC NUL.' 1-144.4.CL
           GLa4 vrfc4.1.14: ucrtrAa           ut, 0442LL tut CWIKLI 4' ccto zo fo 60 NI LciUCL uac(a c;c1.'

           WalC(L.14,) (c4, 5ZZY WACeli.1-896T
           iuraic(ul) (CM, 8L0' Ltakoti-(k6t kaa TN) CKI CLCL CC,4 LINULcUr
            41441.$ uolv4t.,4: ti.cCtL.0CiLILi CCItC1.21 6C(.1.1 4G4 Clitil3 T5 (N) tLtL UILNItU CctlUll (kuu.0

           Ut.ck alanvz; ON. zoinst CALALO
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  09 L d




            WV: EWCI£




                    CO. liad CG). c,KLLL c4KLK GcCIA t ti.w UNCACI ULIC4.C1 4(4.St. XLC aACc C1c16(( lit1C4u
                    =dr. LaLLK LISCNi.11 fA4 NLrtt LILICNCI ENaLL L.CfNC,44' ucriat CRICWrA0 5c i L. UM.LC
                    ,,K4NU Z,i C L cio.tota                                 uuctcu             Nt

                                                    ucicicu 14K4Ncl Z.` Go44 Kr.Nk.041.Xti.LILICNC'
                          4 Tha U(.4` cat6 uu.ra cALK LittrA 1,,M4‘,4 NU` zi..cw44u r2t COUtl. cri.' ccm RCi
                    L:C11/1

            KLCI CCUCLI 4atist rA4 NUL` LL!“(t ,
            Gi,n4 igg4t,u: unstaC 11C,,4' Ltt 04c1ti., ILL MAKI!         Ccla ZO'SO.L0       EULKL UclCa 4c1.'

           (LAKILIL) (C4(1, 57„Z1' LCACHU-996T -
           tuatco..0.1 faa. 840' 1-ca4i -OZ67 uatra,      4gt zLCL c444. uNut..4tt.c OrcL.1.4 (4.0.1.Lf
           COALS 1.:Kco.t.“ CLAMS MRS CCIACL!' 6C<L.11 4Gc afit.6 T501) CRL urt.. Lat-NtLI C‘ClUti (tULLLI

           04a rma,c3 tacKu.: (cic ZO/t095 1.,Nr1a,,,K)


           6IU C(Lk044.01 MAL. Ct Lr.t.Gg CUM!. 14UE4I' CGc raistNt. rct.ci uNuma uuaoi.c3 INLCKL!'
           LICiLt1Nt-tC1 CGLG1 LiNtakca 1.1.14k7ice-Mci 1NLCKL!' CLCL CkLi CCL 4alf-dal            LICCIF14 CURE
           L!CNIACI                  tluatt.' cat.l.to t.i.NCOW CCLC LINcrALO Utic4caca lN2L.t1tLt. EC(60,1.
           ULa 1-Cla htt GVC Ct cal,,L.I.R4T4 Cf.a' LUAcCI. •
           C“14,                      L1C.4( ul trm.t.L. tLl C.t ILKL!   t(La zO'CO-60 r.l rCa61., 1.!•041.1. 4c1.:

           turmata) faa, SUP wac,,u-8961-
           tat-maul) (c(l SE)' Lial,4-0h6r tafri.6 i2T(N) 4c1 CLCL CC4 LINL1LctU 44ELLL:
           MAU U1cti.1.14: i.).41c.1 CULL L..C1.0.` 1cCI,U1    f5C C t CLCL LtLNt1Csctull 14LRLL:

           C4.41 asrAtC2 ta<AU: (ON' Zoirrir Ct13,4,1)


           cC4.N1.0'
           CtItcNU           co Kt LAJC41.1 aLILUK4 CG, aistxt. tGL.n uNcr-Ata uurica4ca NtErtu' cGRA 59
           uxuat:
           UCILINLa4 tGLCI uNcaLca uocwAtcl INLECcU' C411 CCLACI 4E4110 rA4 W.L.Uf,C1 LZ(.0 CC4
           ucstao 12(.4' Cala LO4C4LL` COtidlC3 UNC41.1. EGLO LINVALCI UUCicacC1 INLC6L!' tC46410,.
           Call!                 4cttLft fA4 NUL` 112(cCt
           G4t1c             11:NOtC) UC.,41 La Ostall. WI       Cala ZOT0Y60 NI CCUAL.

           (cuu.0 tunitaLtl)          SZZY Ivaco-4-896T'
           (kuti.,u turmiLtl.) (cfia, Rz.tcY tcrA,44-0Lbt tair,ci.a +IT(N) t-6T 4Kt CLCL C44. UNULtiLr. 46C;LLI
           UtZtti LKteLW [alai 4tLcaLt' CittLE ccuSU" rtrkLu 40,                 IS(N) 4KL CLCL L11L,14t.t4 C,CM-A

           G4C1 a4rAcCI itiC4(60.4: (G'X' ZO/ZTST C(4,4,414)


                    CiCePA.      UtJECL: aLaC6C CC( tAttiNl. CCLC UN,(MCI utiacrAcCII.N4tAV
           12C410.21.3.0 EGLo LxidAtca LiocwmalWt.CKLe rLa calCu gaLui rA4 tum4 ctec4 ia4` xrat. CLILC
           UCNCACI Lii,,c,' tcarti.. uNatt.' ccidta               1.1>•icrA4.0 LtUckt-A‘a o..tar rciaaa
               Ectta2 4e4111L (K NUL' Lucca:
           C4C14            LiCKACI L!C,4 Ll CN4.kkl. (LA qtARL:   Ccla ZO'cO 60 Nt EMAEL, uaciLL

           tuataLLO (a 0v ZZ)' urAc.u-v96T-
           tuatuul) (cal, 13L)1 t.crA,,4-046T taKaJ tiN) ggt CLCL C444 UNULLII 44"."-cLU
           CiUtit 4gC41.14: CLCL C(LW rcital` iltct-L! 4G4. CIAL IS(N) 4rt CLCL 11t0,ilLC Z(CIULt (kUALL2

           ata ouruo ll1L.CKL-: (Z14' ZO/ZTST CAL.414)
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          :Ld




                          CLCI,KNU Ci•GcKIA. CEC16Cc L.R.FC41.: CG4,, (M.O.NL
                      cuctau uut.aNt.ku                              CL-C1 rata'. C,C U t JA4 4UM,C1 4C41.14 .444' NrAL

                      cCifILU      LANLS                  4C70,1_CO (AC NCQcQ
                                                                        CCC,UNC,I1L.'
                      4GIKLlt L(„4 ti..!CIC‘C NLC UCCUI LICCA      uucp.! uctot,'                 ucNaci
                      coati. 46titu OS 'ZZ' Ccia 'CO SO. Z.0 NI CCw L unctl.      uuuc..; uut.gcL CCCQ

     4
  / twr                    CEKK Nu &Clic 1.02,14NZI.liS
                                             C.CILJE -                        UNC41,1. lLC1CiLl 4l C c 12 uuLlto (Act
                                                               cuclto
                      uzucr.a...0 uuLac Nal- NIL- Cc           ccl        „
                                        tosa 4clt ritut    AL-m*1.1t „AGc/L-d4NC., LICCIRN CLUIC CtULAC I CNcIll,
                 [            1.1frl_t'               CcUl_ M:1                       1.243c(ci.           LICILiNCL

                            LICICLCLL          NAL 4du NU:         UCOINZ.71. ch:cgt.it uccaK uutstal'
                01.   rrai NccoN Nt coati_ 4c1.1 umram tuauz4 11ClUNEI. G'CrAt,

                      Lc(.{ ut.A1 KcNt cx‘uNkcax.
                f).                 uo4.6 CLCCt NS uctuC4 uutsmci.                 and uur4u uc.,4 tAct uttus uccX


                      uc4u         )4.11. YC:1 !Ala c4Xt_ 1..!CNO,C1 CNC4L C,it44 1„att- UU CL 44.1,4,
                      L'4Ccra NU UKLLU LICa UC.4 it4 act ac.; uuur4 LaLCNCI., tC1 CU 44uLtt Lac! KC ciettq
                      camo..        twat. utr.a.0
                      Qum.           aot. Ccl. ucluc4 12C0-CNU, NU UYLLLc LIM                      NUIL.! ccf.L LICWACI
                                L,KGN” ERGN 1.!(?acc0           cuKat SO                 Lulu C0.0. 4CcU ISCNI. (?G
                      64-c, cdrmst                                                       C,(LI.L.: NLC uaucA 1.2C,..CNCL
                8'    MAC] ZO.S0.10`                    ccta Ko uciut4 UCALCNCL CLCIN44.! I;Cc. l20,4,C1C1 LIC4,4'

                      uutsNc,... C,C4.Ktri Ccn.6 LULCNC1.0.1 1.2COZICCL•
                      NU 1..!C1UC4 L'CIUNCL {VAAL:                            CL.C4N4412 tLNULLt c.0 U NU: (2l.R-4
                      L..11.CNZIALC LICA/Lai; CC241 UGCVAL! CaCCI Cc [,NUL CtOCL cc.,44.0                     cEcN
                                                       (4L2.41' L.!C4.TC4 LI,Ca.CNCLX Nat. u‘u NULL. 4Cgtt NU Gobi
                  '   041.14._ ciao                   yL Nt cacltL 4c1.'                 1.!C el 41.1.1.1 Nlt

                      GcC161,2ULCNCLIAS'
                      LCca CC4 UNGCAL.'                        aaL MINIM Cc krA 41. NI_C mc.-act 4C,Kic NLI
                                     4NLIk..11. CL, ci Kti.,1_ 4tR6 GcCIA LINC.L.LUtC11,,CL! 0_1.0 4uttsa !AC NCAcf;)
                      cutLat xcL(.4 ZOOZ                          C.O.! /14                             (Lc/0.w En

                      (AUNULI.1 csCrcL,C14,./.4, NCLLI,,C1 U> CIL UL                   1.4CtlINCL
                c.    t..:(NONCI Ct3L NS UKI.1-11 Lira. 1.1,C444 Cci-IL, 60 UU Ufa, LIC4 41.4. ,,KC,NU Z.' K4 CMS

                      mai L1C44LIC,Mlitt.           uratt.cc urmsa 6gL.
                      LC 4 CL.Cca {RILL 1.,KELLI (CIRCUS UG(cal     ciarci L-17.0.1' um7U3 L..CcE CUcd UNCO.t..
                      C44NcCI CLAM Ca` Noit_ utaot )44 Ud. acCI. CKC4S th111.1.• uovao ucao          LaL t2I_Cc6
                t'    cut Cl' 1.1,0,2010 ccKL' CL,CiNCAL! Nl tool       uoKl         Nat. utt_cc accIctch actci

                      uG4,aft ccod-dcu „utucct.,                                 LINcrALCI L'.UCicacCI
                      omit ucgu               Lica LC„{' UCILLZ 1_!Ca LIC.4 L!clit). LIUU Cat aucNcAca ccKL 6•Ctk.
                           LC.04, AL' (I 1-9„,1-Cdt. CL.tc0 ILdCl.dc auct             CLAM CCK' LICNMC:i ULCcC VC
                      utrzao c‘gl.‘ "Cl_CNC,C,L! Nt COC41,1„. 4cL' Utli..11 Ca,' LIM! 1.1(Ck         utLczu uuttLu

                                        CC4 uRcrt.:
                      tky.z.i.i. cc Cat: af.aisc...i(ht 'CUD SSiLL 1.7c1C.Cii Cc'ClA LliniCLiii tiai.CL! 4VLIC1    MC,

                                                                    ti
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  IS d




          u 1:0;CS£                                        SL




          C(G(FI, CiC16Cc LiUCC,U (AULGKO. CGt rALILNL CGLC1 UNaAla tlat./MC L(AZKU .
          CGLC1 LINcata 12(WA4.0 tacau'            ccticu 4catsu R1y tint tcon,       NrAL CULCU CLit.KNU
          LICN(AO UC444' 'Cala UNOLL' CCrthQ UNC41.L. CGLC1             UrMscO tacae CCgrta(A. UCILILNL40
          TLC) CCI,LCU C,CrltSl rA4 NUL' .LUcca. •
          ct.a% L(fiz4t.t41 ucNaca uc.c` Lt rrtalL I,UL MARL!         ciao zO'SO 2,0 NL zatra uacia cct.'

          tuataut) (c(cs, szZ)` LVAC,U-896i.
          LUIlkULIA) (C(45,                       LCIRcL, 171(N) 4FL tin C44< UNLILALE 4itZtLII (Ulu)!
          ciUttz wrr4t.tt: tLcCiLi citttX zttcu` 6E4l.u. 4G-4 arc•clo IS(N) 4Xt CLCL ULLNLLC t4autt (cuti_u

          040 arg4 c kNUL: (614* t011095‘Na4,,K)


         CIG4FIK.C(Clat UtSC4U ALACK41 CCL ALCM_ rct.a UNcailO U(hcfM0
         CCU\ UNIALO UrAcrAcO tacitu' TLO CCUCU                     NCIA4t1 C443 ti/4' Natl. CULT CLCLKNU
         uNao utfic' CC(LKL UNC4L' CCidLO UNC4R, CGLC1 uNcata Urkra4C1 lacKu' CClitact UCaLNLi.C1
         CLO CCLICLI cGII.LCL ac NUL' LU4LCI.
         at,a4 uno.1.4: LECNAO LIC4.4`        CNcklt. tUt MIMI; cL Ccla. ZO'SO.Z0 NL CC(L41, uclatt. Ca'

         tu(htciLti) (Cc 5zz)" LC(hCi•U-S9461
         LWALCALLL) (CUL 81£)` ISM.4-0Zoi tC1f(ct) ttI(N) Cm. CLCL C44 UNUL44.LX CAC(.1.14 (4ULLU
         C4141 goCt441.4t 'CLLOLS VMS CCLI.CL` rcaLL2 cc+. WWI ts(>4) cRl CLCL UlLNks-C Cac1Utt (a.A.LU

              a•ci(401 (0146 zoito9s Lgra4,,,$)


                 Caloqc       autc64             CGLC1 um.atct UfAVA40 tacar
         CGLCluNcato urkataa VAEKU' TLC CCUSU          (?$4 ICCLL C11.C4Cht.tilk LA' MAL CULTU ct.cmNu
         uNao uc,,c' COL61. UNOLL` tudta UNCAL EGLa L.:7,watt1 uaaaca L1 ti caaaa uataNt.,,,o
         (LC CCILCL1       ra
         GL.a4 ugt4o.:: LCNU 1.4c,•4' Ut zN4tti.   CUISU 41' rac z0'507.0 Nt MAL uacaL

         tuat.c.a.t1) (cfa, SZZ)' Lcacuu-896V
         LUCALCit.LL) (C40, SZE). L.M.C,-OZ6I kia641$ tI(N) 4Fl CLCL CCAL UNLILLLIS q(CcLU WILL!
         cwtsi tzitrkust tLtC(LL CALLS CCLICL:' KC(LU ccc aRcl T5(N) 4FL CLCL L LLNtlu r‘autl (suau

         Gc.c) furx4ct           (c•x• zofro9S 04 a4,,g)


                OC16:4 ULIE41.2 (A141,GiC41 CC, (WW1. CGLC1 UNcal0 UrhtfA4.0 LACKU
         CCLCI UNifALO U(ActAcO VACKU,' TLO CCLLCU caw'. a4 Law,. 1.144.0              ?•zat. CULT ct.rtKNu
         umaa          CC(161 UNC1LL' EC46.0          CGLC1 UNVAI,0 Uf14.014.0 LfACAI' CC(6.14.1, UCAILNL4.0
         CLO CCIATU 4CcLLrliA4 Nut: Lukai ,
         qt.o4          ucuao ur,,4' ut CN4.UL LUL cruirtl 4 Er.tc ZO'SO           ):it ccAuti. uauLL cd:

         tuaLuLL1) (c(a, szzY trac“u-S96I'
         LL, taut) Ma. 8)0' tra,4-Oz6T toKal r(x) 4Fl CLCL cc c UNULctit ft•C‘1.11. (WILL!
         CILRIS         TLI.C414 MLLE LCI,LCU' icC(LU C% 4.2A<1.1 TS(N) 4FL CLCL ULLNLLL CalULL (c.Ut.1.11



         ct.a rurAccs tacitsv: (TN* ZO/T095 444(114i#S)
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   Zg:L d




            d'tt




            MkKL)., CICIKCL ULIC4L4 CALLGIC4t CGc ALENLEGLct uNaaLc L.!acrALO RACKLI.*
            CGLC1 uNkato urActua VACKIS YLCI ECILCL! 4CiLLEL cAc. (74.1414 4444 1,44' 1.4CAL. CULY CLEIS14l.:
            12CNYAQ Lg,1<'       LL)4Cl1.12 CCICI1C:1 LI.NCAt. CC;LCILINkrALQ UrActl4Q LIAZI1L2` tC4itait.‘ LicastNLAct
            rt.c rctuu 4min ac NUL' 1.121.4.0. ,
            CL.04 waca.L77 unqaan uco,4' LA C/11.LL &Ul alILKU           tac zo-strzo Kt CC4iSS.1.- ucacitL 4c/.'

            Luamut) (Ca, SZZr LEMCi,U-896T'
            LutALmiL)                     isah4-0z61 laiSclr ttr(N) 4gt ti„tt., C444 UNL1t.t.1IZ 46ca..0 WALL:
            C4L1.1.Lt t4tfttl,t4: rt_ic(Lt MLLE rcacu. RCcLU f,Gc aKLL Ts(N) 4gL ZLCL utL.NLu cLoutl (Luba

            uLa rac414c tuc(oal: (0•)1• zonogs Lmruieg)


            CtC(StkUCtrUi.L.ILIC41.2 TALRCKS'l CGc rAuLNL. EGL0 urzLatc uaLraLc Larraf
            CGLCI uNvALta L.trAcfht.0 MCA!' tLE3 tCIICU 4ctusu tA4 AWACS.° C4{C144 1,(1 ).41AL CLI,Ltl! CISLKNU
                    L!CH4' ccarCLLINCIkl.' cache uNzucL, cuL.0 uuLato LYWAcC1 LACK& CC 1U UGLELNI..c.C)
            CLQ CCIACL: catlIt ra4 NUL.' 1.(IcaL
            c4n4 urct44a4: UCNAG             1.11. CA2.tLL .U1 cuLgu 4C cac ZO'SCY40 wk. rata unatl.

            Luratcw.t) (C44, 5ZZY ufac,iLi-996T"
            turmc41-01              tvA4J -04'.6T Lor04 tt(m)             Ei.CL C4r. LINULULI CACcL.LI.
            C41.:134                CELLI-,Cala!' fiC4.1.14 4Gc OKA? TS(74) ;Rt. "C.LCL. LRU.41.LE CLCALill (4.1.R1.1.2

            QL,Ci avc4 1 txLcilu: (o•ry zonogs ozo,4,,,g)



            CiGe.K1A cw,Au uurL! (ALttugL CGc fALEML. ECLCI U7dLrllt3 uau-ka. taricu•
            CCLC% uNo-Ata umoLa MEAL!' CLQ EC1.1.CL: [XIII. Mc 4,A14•24 rh4.4X4 Iri 4' MAL CUL( CLCLA)1L!
            ucrzac         zatircl.       CC(CftQ          uGL,ct uNcrma uracracc Lacrcu' turcgla LIC(LCIALE.Q
            t1.0 Talc!! eptLE1. i4 NUL' J-L!cat
            G1.44            ucNtac uc,,4c L. trzcitL. ILA CEUtRL1, c,t` tact ZO'S0•40 NI causi. uocaL

            twataul) (ac, szz)' u-ritc,,u-sger
            tut-racial) (C4a, $34:C)' LM , 4-0t6t Lar(1) ttN) 4KL CLt L c44 LtKuLaLE QtrcL,u (LuLi.0
            Guth               La-4Lc CALL: Ccume na.,14 4GL aitc.t., Ts(x) 4KI rixt. uLL.utu ctouit (Lutta.i.

            con ac K413 trA4vAL:1 (c•x• zo'tocc 4sta,4„K)


            GIG<KI).CIMEc 1.1UC4U (AL:l.Gc141. CGi. C1LEL)41.7.GLO L4).4.:.MQ LICAVA(0 Larrai -
            ccut iNaato umi.acc It E cL CLQ rcAtcu 4caLri                   4sta! troy-           :sun 4121..t Clag/11.2
            LANaca uci,c' zcarra.            ECECILO 1.2?4CAL. rct.C1 LP4VALCI 1:(AidatO           CEIKrAcl LfCiLE041..(0
            tLQ UCLICL1 4C4ILEI. M4 1,4L1t.'
            c4a4 u4r4,412: aura uc,,4' LA. c>44.1.LL. 1.1A CattgLI 4C cac zo'scrGO                EC1t61., uccaL

            iumkaLLI) (Qa. szz)' Lc(Aci-896i .
            LuaLwal) (c4a, 8Ls)' Lsok.-oz,6T tarKLL,tto4) 4KL cLtt. c44( LINUL.41LE C,KC4LU ((.1.1L1.11
                 Lmtct.u: ru,cas caw cciLcul f(aLL! 4Gt a6c6 IS(N) 4Kt. LL.EL ULLNLLI tcLILKI. (cLILLU

            GC.C1 (Art103 l4f4413: (0'W ZOriogs IAN/A)
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   £g :L d




                  6O/O8'.'




              CAGcNi. CiC16C4 uuc4u 0,111.0t4 cct, cm.ctut.. CGL4 uNkrata L fhct Cl tacrcu.
              CGttl um.fm.c) u(A‘rAka traCiCU: CLC1 "CCUCL2 CFALIL: 0$4       uau?IL CL:LXL: CL.V.SNLI
              LAN(ACI         CCAta. LNCAL.` CUCRCILINCAL ceta uxkotic urAot4.0 Lacecu. cagrAd.
              rt..0 CCLACL! cUlLa 414 NUL' 1.1-44.‘CL
              cLa4 I.LICC44L4: ucurma uc,,c' ut cszcto..      autKu g' r(1Q zo•So             uockL

              LUALCiLLI,)              1-LaC,‘U-S96i
             1.1.10,I,SLL.Lt) (C11:1, gL£)" Ufa<L4-0L6T     VT(N) 4KL cLrL c44< uNuLtur occt.0
             auttl u4c<L.                attu: ratcu. cCC<LU 45( C164.1) TS(N) 4Kk CLX.L r<outt, (..utLu

              GLA AtKLILI LLCaLKLI:: (CM ZO/T095 4Na4i,X)



             CLCIRNU =LAO,. ca1ttc4 LILJEL!AULG641, CGc              EGLCIUNcala uakaca
             EGLO, LINu71C1 urAcoact MLA!' CLO ECUCLI C,CIUSLI ac t..t4cu c44ct.: cLayt              )4,taL (ULU!
             UC1:OIC3 12C„{' EG(tra. C414C(I.L` CCICACIL.NCUL CGLO. UNOLC) urmre,go taciru. curcrakt
             CU) rcusu cuust              LULL(
             cixtc URC<L.U: umac              ut cxc41.L Lel ctuigu 4' c‘to zo'scrzo NIL •CC4ta LICIULL {CL'

             1urAtca,t1) (cal, SZZY urAcHu-8961'
             tufai,c4Ltl) mo, 82,0' Lc(14,4-046i coda, tt(N) {Ft CLCL             UNUL4.Llt AfcaLL: (c1.21,L11
             c4,41,4 LLazo,t4: KL(aLs C(LLIC ccucte :taw co, 4446 'ES(?1) {fit CLLL Lti.LNLLS anuLl (LULL-LI


             GL.A atot4C14.014(LCLZ:           Z0/109S i•NrA4,ig)



             c(G‘Ko, UCIiCCt uuccu auturto. CGL, LALCINL CCLO uNcrato urnaakc3 Una!'
             EGLC1 IMP-1'4Q Ltacoao tokr:tu` ri-C1 ECUSU {MLR         CO. 41,FCL4         )W.L CULL CLOSNL!
             UCNRia LJC,14' CCititt.     ccaltc           cuLa ux‘mtca urat.at4c1 tracrW' ccaCeaa. LmumLi.c3
             tt.C1 CCLULL         (A4 NUL.' 1-ULLCI:
                     44C41.4: UCN(ACI           ul CNcaL LUL CtULRU 4t, CLLCI zo - sow          cuta uac(a. 4c1.'

             tuattctut) (cua, SZ1)' u(c,,u-S961'
             tuaLaul) (cal, $11.€1' tir44,4-046T taK,.43 T()
                                                      cgl ELM- C44‘. UNULLLLL qcELLLI (LULLU
             GLEN[; L.:L=63,1z CLAW       U U CCLLCU` 6ELL.LI 4Cq. OKLA., T5(N) 4rl r.LCL LILLNLLI ELCNULL (LLILLU

             GL-L1f4
                   i MCII.rAcou.";     (olv zorross ogrx4,,,x)


             CLGLKL), CACILICL LILIC4U L'ALIACK4i, CUL L'ALCINL, cut.a UNALC LIALALC1LfACKL:'
             zcLa ux(rAtu tiatrA4Q EACK12` CL.C3 CCLLCU 4CILLCU. (AA too.: Li4041,LL NAL, CULKU CLagNU
             UCNO,C112C,i4' tat.6.1.    cc:dm uxicat. rCL4 ums-Ato UrAVALCI VACA:11' CULts'ALL UUULNLL4
             CLO ECUSLI 41 CALIA, r-A; NUL' I.ULLCL:
             Ot.CIL LLKCL.L.L.L: LICNaC-1 LIC4' Ul ct,24at., Lut CILILKLI 4' ci,L0 ZO'S0' ,0 htl CULAL thacaL {CL'


             tuay.c(Ltl) (cal, SZZ)' uatC,,L1-89,5T'
             Luatc(Lkt) (cia. 82SY 1.1cA4-04.6T 1.4(.4.1.) tri(N) CRL cLzt. c44c LINULLLLI 4r;:n.Lu (‘Lni.0
             utais uttr4L.L.:: CL.LCILC C'dt.0 rciACu. R4cLU 4k 44t4L TS(N) 4K1, LICL LILLNLLi LcC1Ull (LLIU.0

             cLa az44c3                (aw 70inr09s uirmag)
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   Vg :L d




                                                                   sz•




             ulaw-Ato to,c6u
             tuqr-mt. 4g4k1 tct 4c4 UtCca LINC11C Nat_ CL utcrcct Calf(Cc uuccu' CGc Chao& Ect_ct uxtrAto
             CGL.CI 4.NtalC1 urkacc1 MCA): tl.C1 CAd CCJ. f,CIU LIL "ac4,41.-41.4xci, UCCigN cLutu auLtz
             UCN(ACt LC,‘A' CCILKL IINCELL: tC.cARCI uncat. Ect_ct LINcCALCI L:AcrAcia LACK& CCMOK( L:c4LONLcCI
             ULCI LCI6 21t Gtri Cl talcl. VA4N        J-Ucal
             GLC1c L4FIC4t.12: UC} U   tiCir4' LA C:NcaL LLA MAKI! 4l' -Ccla ZO'SQ 40 1I.          LIOCA.1.

             ILYMCIL1.0 (a4, SZZ)' LitAC.A1-896T .
             tumtc4i..tk) (cra, 92f)` lim,i4-02.6T 146,1 t TN) 4 t CL.CL. CCAc 1.1NULALLi: 4cctcL12 ((LULU
             COM LUM4A,14: (24.14 ckLit. 4Lcta' (C LL 4C<,              ARt CLCL, LILLNLLC Zanull WALL!

             ot.ct autc.cs ta4tau: (G'X zorrogg 4xrA4„x)




             CLSISNL ClG‘gl),. QOM LILIC411 MLAGKAL CC4. atstNt., CGL1 UNcralCI LmacacC11.017.4Lr (GgKi. 65
             ZGL-C1            ua‘.a4c) trAcKu' ccou qLto CCLLW 4C4U-ta olf4 Ntl.UcCI L.CcO CCA, LINGIZL'
             LICNr?,C114C,,A. EC{1.61. UNCO,L' ECLdLQ UNCAL. ca.ct LINcraLCI urAcrevsa tiara? CartAcl, ucastN.L,c3
             (cC-1L: ACL.LC) Cala.; calLtt, 17 c NUL.'
             GL.0 1441r4Luz. ucwAca               ul CINIcal tut vutru     CO
                                                                            ct ZCISO LO Kt cC U L Laud.

             i(utt.0 turAtcrwt1) (uct, Szz)` IffAC;oU-8961'
             (4.1-911.11.1.1.CAtr.41.-a) (mar eLc)' ur?",4-0461 LaK(G‘a K(u) 1.-61 4Kl CLCL C(-4& uNut.tus 4itCcL.L.1.
             alums u6r4L,i4: ckaat 4CL<Ctu attu tC11.0.2( KEt.t.11 404 C164.4 TOO 4KL                          C4.0,111t
                                                      .........       _                             _        .......
             ot.ct fACIL(413 lAC«12: (Gig. zarr095 to•ta4,,g)


             C7(G,SO. CWiU LJUCCP. aut.*K41. cc; rALLIAL tCLCI                traraCu
             cotct uNottcl untida4c1 trActsu' CLCL COML.! 4CALLCU 114 r(J.CL;    4"4'       cum! cistxNu
             LC) Q1         cam. uxatt.,' radlC3               LINUMOLIA‘tAcCI tattKu` CC4KrAcl, L;CiLfiNL.c1:3
             tL.CICCUCU ACALCL (14 NUL'
             Gi.ac Luct4w: ucxrAc ucH4* ut C). .LL tul MIMI! Cit' Cd. zO'S0'40 NI.               ucaciLL

             tuencti.a) lacL cZZY arAc,(L1-896t .
             1..1.!(slaLll) (c44, gLE)' tsrA,4-0,46T tarta) bi(k) C L CLtL C44s LNULc.ltf 46C4.L.1.2 (WILL?
             CILALC LICCsLLr CLcUlf cattz LCIACL' trCcl-L1 AGc ait‘to TS(N) c,nt CLCL utt.Ntts ctoutt. (cuiLu

             Gl,C1 giat,C‘CI tg141.   (014' ZOITO9S 1..74014rog)


             CCGcKI actat LtUC4L! fAULGA,At CC.c CALCNt.. EGL.C1 LiNceALO llacrAcCI tacrtu-
             CGLC1 UNcrAla UfAcrAtC1 tiacKLY KL,C1 CCUCL! catilLt (AA GC4CU 1.1.4t.c a„c,' Nat. CLA.CL2 ClagNL!
             uNacCI         CCM!. uNatt.' ccre.ha uNcitt. ccut UNc(TACI LVAc(Aca U(ACa!' tcWrtct uclutNt.(c
             CL,C1CCUCL: 4uttst ra4 NUL' Lucto.•
                  Ltott*I.V.: 1.204rAC LC.,A' ul         CUL CtLILKU   c<to ZO-50 Lo Nt CG461. UOCAL

             turniciut)       5ZZY LVAC,,t1-4396i .
             tuat.c(u.l) (alai        tsra:,4-02,61 taita) tI(N) 4Fl CLCL         cct. UNULUIC 46LcL.L.!
             C(LIUS I 4L.I CLcC;IL calls catcui rtra.0 4Gc carr;14 ts(N)                    utt,Ntu Ckctutt Ckuti.0

                  ehakc413: (G'W zoit095 go4r0.4,,n)
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   SS :L d




                       8
             Lr Er rE1,0 €                                       6Z




                           Utat 4-.4Lt                                                i                   ti.CCE.   sKL
                           CkC4I4 1,4J' CO-: 00.,a197' ciaCQ.0 uL4d aLcp4 NLui.0 cji,L0       CilL 4tacte( C,(16
                           Luc4u. tit,4 cNciRKILE caCC1 N4 u40.1 LLLCIt Utsttlitl rh4 CiaC4 U.L.4e] Licat,ct
                                          cacLausa anrct. Uur4u uc,(4' zuka                                cfCIAL
                           roau LguL6L ucaacILz4Las 4uuLis' tLC1 ZO'SO.a             (O. 4Lit,40. caUL Ito

                           u441.4L, uckn.4.
                                 uur4u uc,ft, ffa acoaL rya'. a4t4La UctuiCi. N4,1 ad. Nil z(coaL un4C1.1
                                         Cara ina                                  cAlaL C,4t c       NU

                           NcCON'
                           4K.CN•               Utag 4c"CN avoci c46 cciactut' c,ut. ecu                      4r<14
                  6'                     C‘AL        ULSZ4CL    CI4ELA                                 urm. urcci.u.

                     ucu 4uot,,44.
                     ucrA,,L c't4oA a4t4Lk' rzin, (MO. (A 4L2Lidaa, N4 uucad. uutart. 4uartt. Uli4r1). (4
                     asc41.:' Nc7 L Ntift aaxt L4CNOCI CNCAL cut Cl'               mat. 4
                  8'         uract... artus uac‘cct cwv. avr          C4 L 44La                NIL COM.

                        tNtLft uudLc
                        acco4                                   c4.cirA 44,Gra KC3               CAL CtCSGL ElEglid
                        CO.ca Z0.50 -11(                carry Kc:3                 cLaw44u 0..aLLU 4NULlt Y.2(i.LLS

                     tuttat NaLtt..t. CkC40.1 L.44 ILCLartiS     do,g
                  9' 4)1uL. CiL1GL aCkd                      MO Olt ftC:                              cult. Ca Le,N

                        4r.nt Ga(IK tILGU"       NUL Cc Cci.v.!    U6C“.1 kESLNU C411. CaLit OrAuX"
                                             ucfacti            ,` vita.          uccia. a4
                     4pLIZCI cA4 NCIA4,C) vcao CC4 UNGAL: crtelctis uNcru.,' uum. KI.CANt CV,M lCC3 NM
                             4NULLL Cc CL.Katt, 4mt c‘ctil LELGu 1.4aKk acc4tis          umts tctwl qua
                  C• tutto ca.% ZOO Z               fzvAKC3t                          • (aCtS1= 44    1)

                       UtaGIS Licastal: ,,K4NU Z,r tlittcL Cia61.1-0-Mcil cac.
                  t7' u(NIAC1 CaC1L Nil awl, Lur4u, ur,,4 4cL< ,sotu Z, r 4gLLL UtAgNU 4CLA4 ra4 cctirs

                        C4CIA4,1.,a4ouil ct41.41.,c"
                        tNaKAI,“ LIMCCM:i!N1,110 ULCct; ti.curAa rc4 C4C(Ki. t2LIZ4.e (MAL C.A.(c LNCigitLr
                        zitdt-aar tdcdrAu uNcaLu' utNriso       acka ur4LC Not caul, ,J4a.ta,c_tui

                        (AANCrAtC1LE4.0 CC4 uNcf-AL;
                        uciat. LIUE41.L tints Sc4 CiCLC AttALIWAL El.       ZkEkK Qctlff t_CLUtS ZCUCLI cCLUZ 4catxu
                        ur4u N(L ,,CiX41,4 N4 Ett4 uNit 4RILL taRtK Car14 Lacplc• 11(N7o uLICccl 4,AKL NU
                                       1.11C-CM.Li O4 t1LCll tiLICLNC.CN UL LGiN44141 CUCCJiA auCgOCI 4aaa. cin61
                        irK4Nu Zn cull. C,CMAO                                                i,g4NU     •.4k

                                                ,
                       =NM' Licicaa; ,,g4t,zu Zu Gita4 REN. CNLCL( LIUC040*
                       t.tChbACt CUIL?i CiNc 'NOV cLux4414 Nt. Cac4"1.1. 4C1.' CCM Ma

             Caat2 4CLICI CaLCI..! ceiklA fA4 NUL'
             04C14, 44C+;EL,W. 1.4(NrA0 ucti4' ut °k at. wi aui,Ru 41' r...4.4o ze-SO'SZ NI tr.-41.M. 1200 LL C,CL'

             (autLu auataLal.) (Cia, S ZVI UOCau-896T.
             (tLLLU iLi-AC41-1,1) (CAca, UV' lirA,,-QC6i tart?,G6a t4T(N) L-6t 4K1 CL,rt Ccxc uNut.uss 46c4,Lu.
             Cit44t4          c‘aut.         aut.( ratcu,' 6rkLLI C, c Ca LL, 15(X) 4K1, D.XL L1 40-21,1i ccOULt.

                   rArittae 4141.'CrCi4: ON° ZWTSSZ 4441.1.0
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    LBl L d




                                U;1.1.
                       uz4Lttcci                                                      •        c4ct'
                       c -‘61. Lurc,u      64 ota ut.ccu tcuL rs:c!tri '                       C- LiNcCI 4T:4KI.6
                       Eaftal USCL.t CNLI.CL                ; LcUI as                              (aft h4lL LUCcU

                       Ltucc,L!
                       •        UC54GO, U.C441..'4L,“0 41.c                        t-;- NuLa ckg.L ztGickc,,c3 N.Lr cic‘61.
                8'     C0,0 ZO'90' ,6Z Kl ziacx.L ccL-                    UtCr.a. hLt cC Ct UUCC,U. UC,,4 7kUi. tCQ

                      UUC,:;U: NAL NLLCI. 4.,.RL.1-404a0 cwatt. c64-
                             tut, C4U. QUM. 6L.CtA r.c<ra ct-zot{4t4 6c1                              c(as...4t NU %tCtal

                       fSLCANt 1.;1,0-1
                       Go.2. NG,                 Lcwx. 4 a URN           CtLiN..„Cl 4C<K1,$c UCcZkA UCitACCL:
                               NCALI,LC       UkKLfc GcWc Lr1.11n4 CiLtC utcru            C,NUL, iCti C{U`
                9'                      GC1,2 'U                                  LIC(CICLI               kt4.41-A vact

                       c.,rt,to ouzo ac NCO.A.C3 L,rce CCC, UNGAL:
                       LCLGLC ENCiSALC utuu aacti.          rtc, Ca( LCCU CLUJ- Ct).4.CLC cALKL liNLC Call. CUCL
                                         CCU NC, C{Lat.                  (C(CL.CLI.          .) LUg<it 4rK6-

                      ug-cNctz,- r-Ac Nut( LuaRia tutaLL tow,144t1-
                      uc„c, 4<f c1              1           M` I1   C(CLCU                Ti,               o•za u-LK
                      LoNr1a. aok, xtr, analUSJCAL!             “KNI..! Z..'               Z.. UKtcL 12LC CtC1.4CI, UUCC;LI.
    4,0


                      •                                                         :tqlSC,ZNUKatS
                           :aLf LLCCIaL2 UNCALLe UCNITC1 ckKL CiCka UC41, NaL C.,
                      Cr4 CI                                                     {             CfCch,,L


                      Ltr4Gcni.-
                      6c; cicts cgooscum. Lt cgtLL rcm.6 G Cla Li1CiLC CCLI,C12   coitLto ac;         LEct:2 CC4
                      C,YLkEl CaLLM a4 xr(A.ca Lcco CCC„ LiNGAL. UCNI? uacco                      LIUCC,1! kINLC
                      UZ4U UC41,C3C4 CNCIKAU CICa4L Cl4Cit 041.4Lc                  L-AKIJC C.ctU".; Mat' rCS,M1
                      CiCCLL UILIK LgENc.4 (?s Nut( LtUCtNa Lalcltl LaNcc,Li."           aUCN(AQ 4o„.4,KL ucutt
                      ,,Kp.zu Z11 Qat. 4ov-Ac1 CC                               inCLW

                                     LIC:(CI,CU          G6;.4 KtN,. CNELCO, LUC4NQ'
                      UC?'U     UCI.44 cutLrA ctc; ZOOZ' EL.co,t4L1. Nil cacttL cc]: cci-A 60.

                     C,CLAC CCO.CU {CALCI, a4 NUL' 1LUAA.C1. ,
              0‘44             U.CNaCI. 1.2C.4 U EN4.1,1,L uA CULL           calm z0'90'0£ AFL CcAlia Lc C L cc.L.

                        (urgaut.)(c/cai SZZ)' 1.10,C,U-3961-
                        LLVALC11.0.) (ct(3, 81.i)'                    tt(N) t-bt    cLrL cc4. UNUL..I.LL
              ciLf,tt.g ezKric.w, c<atll 4CLcCiLC attu rzttcu'              a6,4,ISM C;KI., CLZL ULLNLIS C4,31.10,

              0441 acskti.a.             (C'N' ZO/Sh6i AU-)



                      c4ara UtJEC,U                 to_ci 0.4 CU. 4C(tC4LC ta.c,d                    Nta 4)4


                           cc{
                      4cKL u(Naci' CNCIRALL CiCa4,k, cics-At        tiXtx ccucti c-ct..to 4cturo rAe., Kcr-A4,c1
                      ccoau NC, taL UNLEL                         ucK,c NU, Qa6i, UUC44 LC,,{` NAL. Nitlt,
                                          4l6L„ kci,N Cc ckcccts u1c,c1.` Nrn.    1.31,CL CiC16k. UUZC,U
                      •      CUC ac,C4LE ULC,C1 iC,NUL act (arc NUL..          LL44
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   99 :L d




              11 ,a OIONZ                                            ":"



                         cfCrAct.i. LC C, uactr....(4a 4u.k
                  6'     rats NtcaN`                                       uKc4..       anal            uc,,c, twt, cc

                                 Goa' uack4sa COO, CtUL cCtLi NccaN'
                         tccdra auNuut. 4ufcco.t. 4noq' qzuL act' •           U«K 4UN t(i5VA (co=
                  8'     Etta                       aiaL Nu ao6t isuc4u uc,,4

                         uuc4ui Nat_ NUSt. «fiL UCNACI CNCSIL 4icc4 C,KILL UUKNLI R64 i'AC,UGat.K UC4LaCC1'
                  1'     4NUL tat au'                cuvi Et_cm4t..!                    NML. aat. 4t Nu awl.

                                -LALLLI 64 CL 4NELL:LC1UNCII.'
                         CCU NC,                  fC4iaL 4L C. "t21N acitO CIL[N4.0 eXtfii6 UGat6 UCCILICCL.
                         4agtN acttCa 4c,Ftit C‘Xls'S Law ctat: iCC, caL ut.ccu CAL.N4 4NLSL., SCii C1U'
                  9.                    CCU NC,                                   ' 14CiCLCL-t          trtcla

                         CtiCU 4KLta 4L1tUtt sAC NtratC1 LC4C1CC4 UNCOIL'
                         Mat ctat, CNC4K150.1: UCULL CALIKt. LIC4U   cra, t.ccu tad awls a-ALN4 tuac MILL
                                         CCU. Ni:.;                     (CAC1CU            tUKtft qKK Gttt6

                         UKCNstg (AC, Nt_xtt uuaNa CrittkL., LUN44
                         UC,14 4Lt                                        UrC4CLCU ,cg4NL.1 T,,                LN LILLIA -
                  17'    LICNACI Cial. rttr anKt. 111,1"Cqi 1.4(,(4 0-4 ixcNu zu.            z,, urcat. Nis aci61 UUC4U

                         c4t4i.t•
                         rgdctu uccle-Au uNatt.u' UCNt?I t(gt. ack6t ut4ti' NreiL cttc64 ENCMAL.0 acad. o4c.tt

                        UNGM'
                            aos CAOLCCVAL Ct. cAtil EtglirE CM'S a itGtS rcttcu   4atuct (A.:, NMI CL;CcO CC4
                        4a.lc1::,C41,40 1714 NCEA6C1 Lr.a ccc, UNCrAL UCN(AC1 UACcQ f,ttfiL NU MIA           LINU
                        UC4U LI.C{LG64 ENURALC CIC(Ad- C140.1 414L41,6. IINLE 4m1. n.K1.6 C(ClitQ•Li' rcurL
                        CiUdi utur; ustNcu Fit{ N(..ttl utsaNa cN4tti_ LC N44u'            aucrzara 4“fil, CICVL
                        .g4,1,41 Z.,4 UAL qNtAci                                L/CiCkat          t=t NL

                                    tsactcu IS4NU Z“' G4t4            uuaNn'
                        uo,zac uo,4` culla ctcc Z0024 cc,c(N44u Nt cc:pa, 4c1; CCM KG

             CLGIU 4t1.10 CCILCU 4UttIt m4 NUL' 4.1.2“Ct
             G‘,Ck t.f4C0.1.4: uok4rian Q(6,4' ut ENct.LL tUI CULKU           rkta Z0'40'TZ NI CCitra. thaatt

                      tuattaut) pa, gzzi ua5c,,u-8961-
             O./411.0 lUrAtCUL) (Cal, SLY)' LZA,i4-()L6T Witi.ata 12;(S') 1,-6T cKt ELM. CZ;44. UNLILi,La
             C4144.14 L'4%410.4: tvrata       tULILS rctuu' itt:LU 4sc a(c‘.1., T5(N) 4Ki rt.rt. uti,Nou rtoutt

             CLO arAcco taqmst (cN Zo/fT66 i,umt.t)



                        tActfac.4a
              z         cutrNu acrt), acid utscqs ucg,4 mt-t y ro, NLQ CUL Ci M.C2 ctc.),                       LCCL

                        anal. uut4u 11(4 LSGig...'

                         CLiR 4auso       NCr'ct1 L.CtC CC4 UNGIAL;
                                WM_                    LUC4L,. Ltc,,4 CNUKKLLC tiCrAcl. C1C,Gll a4t4L4' UNL Utt,CLL
                        00 ,L0` C.L.r6                UU ri.ccu liatScItls CCi IQ uNatt: LaN uti_c6
                                     utrada 4tL cia,1‘ uucql faisuu cNatt.. 04,4 64 cc                caaa. CiakftL1
             Of'         acttu ucarilatis rekc                    20'90'0V              li               cra6t 44u.:
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   LS d




          tild" .F.0.1)8€                                            Zt




                              uncho coma. 4
                        uoccc        12NLC,LLCILCILI UKCLUS tclAn C,c                                                 L-c4.1.1-1
                        4NLSL c(act.. cc4co'           C4Ca L C,                   Cc :Wilt C46,4:3 Ctl.rN4C1 4tcKLK GcCi.fC

                   1,C 4c1.4 C1L4NUL,C I. NUL. C1citC1 C.R.Mica .4CcF1,6 C4 CV 1.(1.CLV
                   UNCIAL:                       ati Nc                                  UCCL(1,1
                   CtdiC ZcLVA4cr-1 ;Kt, (cla tgiS GtX1.1t LCiGti CCE.I.Cf..! quo 4catiot a4 Ncaist Lcco cc4
                9"                        cLt N4                                  (octcu          tEccla 4xtzt..

                       1,.R4stu 11                L,Nra LULUS US C1,24.1-r Mc NULL uucato CTkltL L.C‘N444
                          C,N      LIKC 4.1.. >4 LiCOULM
                                                   Cdclfil        L4C,s4 44,LA                                        LC‘CI.C12


                       41..c r,t C,4U Zn •
                                       NU ootti. uucq..; uti,4 tct ra4trAu acc4c ac4Cl. o.acco' c44Nco cutot.,

                       mocutL UUCcU ULU C.A.G6c UNC(Ptik.g C4cMcL                  4141..c.
                       tclaitt a4 crg4Nt.i           UCNMC 121..Cr.Z 4ac1(ti.. uutzu LICA. CICCCR L'C441.4                Ci.
                       LINA° Ci:t.47.4 NU uu1 ch‘,,4 mocci C,KtLL Ltrilt fLgco...c                      ifis;          64-Gc
                       cucat.. m)c.' amt. 1.414Lit.. CLzlL L.c44 rMAL dad.' UM. (LI,GiLi 4116d               ClCi.,)" cot
                       cKcIttir ucclati                thxna c(K L          UC411`          UtLCC CAZicC4 MUM, CL.l 4 C4 4N

                       CCiLLL Ccglit Gaut       raccu qu.c3 4c41..co m4 NtfAcCI Lte.C1 CCC, 12,NGML.'
                       LLcQ CC4 UNG(A L.' tirNMC1 LICICcO 4(cF:t.              UUC4U          tc4 CCU acat,..scot El
                       Utpi ucicaut.. tukL ucc! L i 1t! 4KLLL t cgtiC *c1.6 iSkar ZCI.CCI4 4 LL cC(CL.M MC, wake
                              ukt-.V imcNcts. (C, Nutt uucmc. CNckt.L. t_zu4441.1' c(ccia =Nat:3 C,ccKL C(CVL
                       J1K4Nt.1 Z n C44L 4CNMCI                                     UCCUL ,,KcNU       Ni

                                      LT4C(CU frR 7..11.1 o' Qt(cc     uuoNa•
                       uo4ao            cui.La ctfc zooz; tLoN444 Nt rood. 4c1.' taa ttCi

          rLc7 CC lta4 GPI. t (a4 MUL 1.4tal
          aLC VAZi         ut-Naci       ut MM. 1.111. UiRti                    CO
                                                                                 O 70             Nt CCA(C1. uncut. 4c1:

          tuataLa) (ca, szzY         ,u-s9dr
          CLIALCI.U.1) (Ciae 840' tra,:4-02.6I i•cmcct., trt(x) 4Kc CL,CL c4,4( UNLILci, 411E.L.1.2 (4.(.111.t.t
          CAL4(1.: (Mt          it Mai LC1LCu Kati:. 4G, arca, Ts(N) 4Kt tLZL uturcit ccouti (cIL1LU

                     C44.tita kfA Ca: (C° N. ZO/16rE a4t3)


                      Cid 4dCkl_ uc.ccis              uct..14'
           z1         cmict; uuc4u LIC„A LIUGL         CLAIZ'KU C{G4.X1.         UUCC,U (GR4 Z1LC1 NW: CCCL Cl` ctt..c

                      zNagfctit c(cacL cc460. 4141.4t.c. cc LCCU atcal 4who act LULU CICtAL, t.!Urp..1'
                      CCLLCt CC1.1.0 4C(1,1c0 MC, ucacsa Lcco CCf, uNcau' 4)44. c\ NQ tc04,21, LAW 4,1
                      Law oaccl uuc4u ur,,4. coml. 4art.:                           Lt,c4c >4,u    uuc41.! liCef
           1 1"       4auLur ZO'LOIZ'            uttcit..                         k             COM, 4C4C11.0 MEC

                      th-hp.A1.1 LI k
                      41. CC.L Cct.Cc' who a MLR. 41,1.0 4cl              IMPIPPIIMILL                 4Nut. act.
                      473t       Lk.1 CLU t.LI.C4t.11 2LI Ct M1 uuc u uc,,c, tt GQt ut.ccu coc(0. 4cKsmi ot..uuctit'
          or          C?.LlLtl 1.).4c4L!'          CtLI t'tQ                     t                            coM.
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         ))31.1r.) TIN IMM.:2 Iv*                     ,pyvan                v”Pa 11135 .8
                          1,tnn                    -nYaND lawbon is") in)N 1wN ,n5anni
          ,towN)nr,, "2 nN5N"5.1)p nn)N ,r) imna za•=x5ran r131ay..1          riN -warm

         myna 2W13,N rp i5                      Dy 1r),i yv.)                  ,p InNt.,
             Plan o.v           iinnNw Yon 59 "MM"5           n5an71 1vu13 nN 1Pavn5
                                                 .))D151.10713-1131113175n nN 1.71)YND.Nn

        =1-nia 11vra ta),)w;-1 AMM o).! IWO)                                   Zipa*. 51113 .10
         1)V.J:.)0 1V1N7 ,C))/151717 1loSt7 •,-Pwnra »w              Vinnrs vt,)--, .m "1.
                                               .n5yan 11)nna wrann n5ann ivon5 nmsnr_. ron

         5",ln n5ann won 3-12.4                             DY /rya              1,07.02 tapa .11
         T:nx)-p -on 5N 0.37•1 n5ann ivtlya ram            T                       .otwrit
         017rzn 314 akril         MM= .Cr)Viri)a 3n3yn nt.ntna.,»Nn 5w crol3n-1n
              ,1.111V)13 "INV) r-TY 1WN          V,V1Z2 WOW.,nv.)Y r1N1 Iva taw 'MA) In).Dr3
         Tula '7".r) ri5.ann V1..na TIN nNri                 .1110K71 D)nnpn -pn 5 twIn5
         -=ME ,pra inN5 .5ttan trorapa nit 711a W"y 1')).31 PN,Smr1
             ,,151507 11n5v n',WD)a 3llyYla &")Sin5ann 'Ana nx 5'nfrDn5 )t74,)
              oronn 5r4                     ,p7.3 inN5 Jaw n,5pr apy %/u1nn N5 ri .ann pun
         WT." YD3 "                  -tnni 515,ann 'ohm s1x 'lox ,5 , In ;tamn won nN tryn
                                                                                      .NDDIN

        I." MIMI' TV 21V) 1W10.11==.1                          ,29.07.02 C3P1 ,13n -In N5 .12
        Plan) Nm ",,D       IMM"                     1YVD TiN               -Pyln
                   trlDnr; ,tatv,n-ra 11'12Y;) ntrtrial»Na 5")n n5ann vtata nN wp.m
           5")n n5ann         -rrc ,nwoNn 51 osan Er`vm 51'J tmlta tn1151         713»Da
                »2          5")n n5annlyvn n2K 1-r197

        )D1r1 DY      VP ')D 11 )1I )rimi plaw -mN5          n5ann von nN ypmEMMI .13
                                                                              .5yawnn

        linnwo tav Irra)                  .31V.) V)41        ,30.07.02 1212 ,snny25 or .14
                                                        1
                                                        1
                                                        1Ma "N-1 n5ann 1'i nN

                                ."•=1' 091W0)                                    ,Nt73+'i Y1712 .15
                                                              .")n n5anniyvya. 31N

        c1l5wriI5 5"0n n53nn von riN 1nz75                               ,n5)5n ITI1N2 .1G
            .rinnyn ntrtrla»wn 5w trmn-1i1 cnonpa ”1..nan 1172 C7+37-1 pall-1)N rpntrn

        Sv ta)olsn-nn 17=p1, alY1 1PV3                              ,31.07.02 sara. ,7)-1Na5 .17
        Tm 5x tna)                  ,rr)a rpm                  .3V2 ..rinaYr1 r117)D12131xn
         7)12 w"v raza, nromn nlitY,apa ln»al 5"an                DA)* nN stilt ,monpn
                      -mN5 ,r,D)5w)1pa y1'1al4) ntr zna»INn 5w clolsn-in ialf.vapa
                M=. ,1== 5x TILINTI)                     Mk) TIN 31.1f ,13; 30 nyy.;`, Tyna
        rsxtl ,)1515523151)        nwsnNa ,tawron )-P-5v -Is)) IYM           7152"n WV)) TIN
                                                   5aD p+an talw)N       tarnn.5 o1n5 nnroz
        ronmopa rim' Trans ivNw 3)-man +]51'1ltIND 13:00 nA..15 11120, NWT YWOri TIN
                                              .0151 »2 Sw Sin )))1 v.P n-nraNn a' 5")n

        1VN ,"t 7110V n)07         1311125 narla    5"3fl owison    wimrpan rovna .18
                 .5'7 95 -mom      ,ronawl ntrvia.)»Na n5ann von NIY).0t2 riNNIT12 nrm




                                                        33                                   386: 03




                                                                                                            P7: 58
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   6G :1d




             4 U. ECVOtii                                       h:




            [ULM-10.11.Pa.! aGcXlk                LLIE4L! (-AULGR4 CU4. (num_ ra.cL 12)4(..CALO LV1C(i.C(C1 (tArIL!'
            liataNt..cta EGL.CI uNoatta WACILCI.C1                 ICLO C CUCL 4c4itsu fi4 t,t444 to•Ini,‘
            ucNcAcl uc,,4' Cala uNaLt.' CC4(110 UrtaLL EGLCI UNOLC:1 Urhalfte tat6t.f tC((?
            C1.1 tCLL(1.1. caLtsL crt4 Nut.' i.t.t+.4.(t.:
            m.,44               L2cm(iLa Ltc„c' Lt tliult. cut c4us.xu          to.0             xL CVLAL. thauLL

            LUCALGILL1, (C(a, SZZY Llaci,L1-896T'
            WALCiLLI..)       UV' LICA,44-025T Lafckl, tr(x) 4gt. t.L.ct.. C{44 1.9.2Ulati qtCa.L.1, (ci!,1,LLI
                  Utit41.1:1       caw rata!' rcc4.t..LJ cGc 4KL6 is(x) qt. c.t.r..1. 12LLMLZ c(ctutt (kuLLL:

            mon urmfon ll4L1./..: (ON' 20/46tr (7 4Q)



            LA' A2CAL CLLC CULP412 C.4G(Klk C4C1A uuccu ato.c.64 Cc( MaNt.. cGL.n t.tx‘raLa urAciLcLca
            LICALZINL(.0 taCI LINItrALC1 LAC..41.CcCI trACtcle CLCI CCLL(I-! C.ciLtsL (A4 rcaia UtaKt1 4t,C1rAiekti
            1/0)aCt           CC4L(CL UNULL.'LIAO lINValL CGLC1 uNcrattz urAcacco                          CattrAct
            CLO CCUCL! 4citi.41.    STUL' LUL‘CL
            0404 4a4 L,4: UN(A0              a. MILL La at..ILKu         Cci0 zo•zolc NL Cal6L Ur:Ical. ccl..'

            LuatciLL1.) (r44, S       t1acim-s96i .
            LWALC(LLt.) (am 8Lf)' isr6,,4-046T Lc:Va.) tt(N) 4KL cLCL C4<, L,UL .0 c(M.L.,11 (4.1ALL:
            C4141.14 URC4,1,14: tt...Lcar cit1t4 ECUCLe i LL 44. 06410 TS(H) CLCL. LALNLLS C<c uU (41.11.L.U.

            G4.4 ttagttl: (ON' ZO/t6it (44c1)


            CLUKNLI CAM.KO, CICIA LILIC4t1AULGIC4 CCc MUNI- ccLck (12.401.0 LIACW:4.0 Latar
                             LNLIAttl U(AGLCI.C1 !ACK& CI,C1 CCLICU       r7 4 4-au         xf.m. cuLtu
            LICNCM:1        CW.61. tiNutl... tqcii.c LINGO- CGLC4 UNtiAlCa WACaff.C1 VALK'S CaitrAkt
            KLO CCUCL CiciLat (-A4 Nut,' 1.1.1.(ACL:
                   vItt444: ucNao uc.,4' UI CNOAL. WI QUIRLI 44 rcto zo•zo- ic Na Cauc. uaaLL

            twAtca.tl)(cia, sTz)4 1..r(Aci,u-1396t•
                                _0` I-C6,(4roZ61 LC1K,ia ti(u) 4 t ELEL C4cc ti.Nut.A.Lu 4RccLL (Lut.u.!
            ulatcALL1.) Cott, 8.1
            41.34 144C444: KLCALC Cult raLcv 61:4L1.1 4C4. Ala t5(N) C,Kk CI.CL ULLXLL[ t<CWLI (0..:LLL1

            m..a mutton liWit14- (01,2" Z0/46TT rgo)


            WW1 CLOS)21.4 CIG4g11             LILIC4.1 00.415KA CGt (ALONL.taLCI. URVALO LYACITAC1 LrACaU
            LICO.SO4L‘Q CM-0 UNAIC:1 Luacac‘a trAcKu.' tLa rata! 4atuu rho at.412 )4( tca a,,4' NAL
            (1041'n1          CCita UNCILL.' r.CACILCI LINCILL CGLC1 umumo uracac,x1                      CC1r441.
            CLO COACL! C.(1.1.11 (A4 NUL' 1.114.(CL
            GLC L'AC4L14: 120104 UC             Ut CNIALL LLt c(uLKL        ccta Z0101£ Tic CCffiti.

            Lwatctut) cxcl, sza Lcrac,u-9961-
            lurAcALL1) (ma, Sz£)' WA,,4-oz6T 10646 bi(N) C,FL CLCL C.44, LINULUIC 46C‘LL (WALL!
            C41:011.1r4t,14: ti..Lcs GULL Cala!' Kra,u 4ct 0K(.6 TS(x) 4cl CLCL LILLNLLS Li.ClUtt (WILL!

            GL.C1 acitc‘a taMCC• (C')1' WWI A412)
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    09 :L d




               MAW! aGkKa. Calitt LtuE4u (AtItGrf4 Ccc (ALUM_ "CGLC% uNaNta urAcitc4aQ, t(AMILV
              uciut.Nlkti C LC1 LI,NtrALCI WACRW::) VACKLI. rLa CCllC4 4Caltl fAC, LLL (44).    NrAL [L-C
              ucNrAci u(„4' ccaftL UNVLL' ECIdlc3 UNull tGLC1 UNkeAka uoicALc4n Una!' tC4rcrA‘l
              ti..0 CCIAW ACittrl 6,4 NUL' LL?c‘Cl.:
              o4cl4 uctco..4: Licisuao uc.4 Ul ExcaL tut ciutgu       r4.1.0 za'arti rz( tCtlgL      4C1,'

              wimccul) tua, gzzr LIMC,,U-896T .
              tUraiqL1.1.) tan., az.cr ua.,4-0z61 Lcucclo fr(K) 4sl ELEL, c444, IINUL(LU 46.T...1.12 (WILL!
                               tLkcat caul CI LCLI' rttct.LI 4Gc Arta, 'SCR) cKt ri.CL ULLN1U CcOUIA (cU11.1.J

              Gl.C1itrA44,01304•470.1,• (UN' zo(zorT a40)


              CuLKU CWANU                  UUCAU rautuicA CGc rALCINL CGLa urwato             LtACKU'
              UCLLANLAC) EGLC1 UN4.(MS3 LtacaCcO LrAC61.2` rLCI ECIAW cam! rAC, cit44 l.lu Ch4C13.    NrAL
              IICNrACI U.C44 tauci. uwatC cuchca uNaLL ECLCI LINIdAtC1 UrAcAccra trAcal,' tC4KrAcl
              tLO CCI,LCU ACilLfl MA NUL' LUcal ,
              GL,414          uNao              ENLIAL w aU1SU           ZO./0-ff Nl ZUUSJ., uarALL

              tu(airauk) (cul, szz)' LIACIU-8961"
              WCALC41.0.1 (c(a. gzu LrA•,4-0Z6T ta646 K(NE)                     c44( UNULtlif c,KtcLU (cULLL
              C441.14 LIKC61.1“ rLccits Clltlt ECLUU" 6C4.Lii 4Gc ClitcL TS(N) 4g1 zLEL uto4tu rcoutt (‘IALL2

              cLatta4C1 LNI.V11 ; (ON' zo/C6TT (hAtI)


              CULW CLCIANU                    UUCAL: (AL.H.G6A CG4 inCLNL EQLa umaLa LACitti.O. trAr6Lt•
              L1C4LCINL4C1 CGLCk            Urhal.CtC) trAr6u' (LC CCU R!          ;tax exoct.n t‘,4` vaL
              U0,26i0 tIC4 CCI1.61. UNC11.1.1 CCidl.C3 uxcaL cGLC1 UNcrAla UfACtiC<Ci MCKL!'
              CLO LCUSU. 4C11t.r1(A4 NUL' Li,44.4.0. ,
              GL.C14,          UCNACI UCH41 ul tN(.1.I.L WI. CiULKU     Cf.10 ZO'L01£ NI zajcL uacal. 4c1:

              Wataltl) (c(a, szzr LICACuU-£196T -
              turaLcrul.) (Cua, sz£)'               taK41, bI(N) 4gL cLCL c444 UNUU‘Lf AKE,LU (kULL.0
                     L:Kr43,14. : CLAWS OALE CCti.CU` 6C 41...0 4Gc r264.1.$ TS(N) Oct CLCL. ULLNW; tcOULL (cULLU


              61.61 LtatkOlf44144. (V14. ZO/Z6TT nt4a)


                     CULL cukgNu cmcnO., unrci uur4u auturcc, CG< raUINLCGLCIUNcal.13 UfirAC4Cliat6t2
              UMELNL.4.0 CGLC1 1.1.NaM.4 t2ACI1Cal Laritu' rtm ccucu 4ullfl (A4 Lki. (i.474tt) 4LACit4dt 1,14'
              14('NfACI       CCALKI. UNCAL4 Ec4dto uNaLL to..0 uxcato thitcacko &AMU!' zu00,
              CLCI CCIAW 4alla (A4 NUL` I_Ucca
              ot-o4 wrtc41.al ucmaa uc,44       ENOAL LUt C4Uln1.1 Al' tcto Z07_0

              tuataut) (c4ne szzr U(AC,,U-96T-
              ltirAtC41.1.l) (an,    urA‘s4-026I Lara, t T(N) 4gt. rixt. cq:,‘ UNWL,c01 4Kri.LL: (4uti_u
              C441,14                Cal.11 tC1.1.CU' rcC<LU cC<, a6t4 t5(x) AC1. CLZL. ULU. L.0 IcL1Ull (<1...RLLI

              ot,a LeaKi.ca VAC440", ON' zoiL6ri rh4co
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   1.9 .t d




               c sass                                             91.7.




                       um:No.4 Ea4 NLCtI um:4a CNO.G..L.VN
                       11C,(4 4<1 c                                L.!CfCtCL!                                  uzuft
                 tY.   'Immo cleat_ Nu rAclicrc uur.4u uc4 4,11 r=fi472U z..'             z., Ustr,ct, Nu co:4 uut4u

                       CNC4KAtLf A40 LULL'
                       0.40. at.44..4` L.N441 4=10l uut4u14At.. uNsaca ULC+,C CsCxCL. ti 44s! cL AUC4c41 4.1G44
                       A4 rcadiatnca - 0244.1. CMC14CL LIUC4Lt UCNAC) U<LL CiCtcti L Gfz4L t G4tLCC C4C4COKL
                       ritclau ur.clau LiNcit.Lu' ucwreiz 4,,KL tAC< ungt. LIC4L:` Nem. ukatzu.. CULL 4.1
                                                                                                        .tqC4NI,1E

                       LC4.0 CC4 LiNGAL"
                       UNLIE 44 CMS AcAuctal, CUD 41;kLi. EcKl(f Cct4.4 UIGu ECLIAz cCLLC3 cCiLLCCI A4 NCA.(0
                       4tLi.0 cULLECI 114 NCA4C1 L.CcO CC4                 ut.KrAci uacko 4uCL Nu vafcci, uu-cc,u
                       acm‘L. cscp.t.           Lumo. uc,41,Qss4 ,,a4c1 LULL' !AN ` 4K111 Cl.g14 Calft UtGU CCLICU
                       aoKc4 ucu ucaclut.Qca                             rA4 rtaclitaloa Nut. UCO,G44 rNCM6LU
                       CiO'LLL U7k,L4 LIKZN‘Lf A4 NLV.t. LUClNc D4 tiL LaN44L2' aCtIA MINA° 4ctfit...
                        K•4NLi Z=,L Clak- 4CNrACI C t                                 unctsu „RcNtl      Nt.

                                                  `1.1C4CLCU i,g4NU Z,,' KCNc. CNLKli LIUCNCC
                       LINAC1 LICi/4" •CLSU4.4li ULLA Nituan war zt..cm/441: Nt cc c tL 4c1.' car?, slca=1

              f<612 4KLI.C) CCLLCLI 4CillIk A4 NUL'
              CLA4            LICNAC3 LIC,,4' rat, CNctIL kCa. C(Lit,SU.      t(ko zo.90 40 Nt LCCLi uacia

                         Luat.c4Lt0 (C.4 a, SZZY uac,,u-S9or .
              (a21.1.0 LUALULIA) (acs, 940 isa.r.4-o46T tafCcG<a ilt(x) 1-6T -‘'R1.                    umuLd,u
              cit4Itt.t.                           C.111.LC CCUSU' 4r4LL.t. 4G< iasca, IS(N) 4A(.. tLEL LaLNI,L1 CtOLIkt

              ci.ck 1411.(C‘CI latact.“ (GN' ZO/8C96 04ri14,,A)


              LACitic,C3 krAtitt.!'
              UNI,C4CI.C140,Li UctL L Z.41-kA4‘04 NAL                  Cgld L!Lri.:4Le                EGLCI 1,4N4AlC)
              LtN411.C1 L!rgliC<C1 trAC6L.:' KLC3 CILLI CCL 4CCca Krah CLCd. 416(CCILLI tdr.„mtcl, 1.11..-UKLGI,C1 0.4
              u(NrAc1 LI.C•04` CCtKL           CLIdiC3 1.2.NCML CCL,C1 LVAC4C4.0 tAZKL!' ECtitt7S4 14C4ULNI..i.C3 CCL.6
              L L4 Lctrik Nl tr(CS.tC.(41.1.(h4N CLa' 1.1Jt(Ck ,
              GLC t‘ato.i.4z UDZAE3                tNcaL kut. C4til.g11.           ZO'LTU

              tuatat..a)       czzr
                                                      tasca, tto,z) 4nt LL.CL cc4.4 uxut.au C,iCCtlt (tt 11 L'
              CtiLit4 11-31V444: UctC riLll 41-Cita' iStt.L.L.! 4Gc 41fc1 £St 4gt tLCL Llit„NILE tktltILL (4.L.R1.1!

              G441 14044C1 rant:: 01.r ZO/L6TT a4c0


              cMIt T8 ZCc 14.1,C1
              LINVAL CLUNNU C{G‘KO, CCAitI uut4u auo114 c tA4tNL ret..n umaticz L:ACRCI,C1 LAC41.:'
              uautxt_.‘a cuLo uN4ato LAC 46.0 Eacgw' c,,au c LtD CCLLCL! 4Cikl.00     NILL140 LEM:1 CCC,
              LICNACi LI.C4 CC414.1_ um-cal..' radon UNCiti. tGLct LINcAla LIAVLC4C1 (Ac41.1' cC{KrAct.
              CcaLl qt...LQ LOAM 4C1i.1.1l. A4 NULL I.L.W.CL ,
                               LKNACZ           121. C>kttL Lut. vuisu rAtca      us..cc.mL Lacdtt. 4c.L.

              (cCILL.U. U4aLca.t.1)(cia., SZZY L.r.rAc;,u-95T'
                      (UALC(La) Ccio, 840' 1-crA -Ozbt tartco4.0 t.,T(N) t bt 4FL 'CLC.. C44,, UNULIAIS 44Cr..LL1
              CtL tot      4Q: cka,,t1 f,CLcCtLt CULT ECtlCif KC41.1.: 4Q< aXcl> i5(N) 4fiI CL.CL ULLNLLI: CtLltttl

              GLA VA114.0 lA417k4 (C `N ZO/Z6TT 04;c1)
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   Z9 :L d




              sari0484




                     uudat. n4 =1.=1,' ucicuu
                     4NLILL1, C< tIGto7IL! I.J.C4Li1C(Cti cctit.t NA L:CksSc CIRO 12G(cCAU
                          C,NUL LIAILILL Lff,,41                   UIL 4LCiN44L! tCGtA r QMI=.1 tLctlu

                         12.(cit 4cti.au accleccu•
                    4NLILll N‘Gil tetfiL 64cl. Grata >4LINE=1.' CKCIL LIC4ccCI' riMMI., ULLA Cc
                    NAL X= UcU ne.ta. 4EKK MI= UC1(4" t=MMEi uudoiL NC AMU .CLQL
                               uc ra. c4 uctou UNC(ILU clau 4Ku.1 uutgnu 4GLiC4 act CcCtK ULENCLUS"
                    Eck.                            LIC(CitLt       C,Ckt NLC1 tiC{CtCLL
                           UIL(I kt4c ZOOZ'                 ULC4IAL                    tr,i•.clo, Cc 4LCNO GC nL

                    ULKNL!, 4Gtig a4ctt1.6 tIltNCLALS LICOACCI•
                             NA'                                      Gitc4 gCNc ENLCti         LtNli
                    urnael ems.. }?LS uriu.tr uca, uci,4                     NAL LW ALUVCcLi. CNCiKAI.LCIME

                    NtAi.C1 LEcCICC4 uncrAt.•           utdau               ucn(Ael c L r11Uc UtILILI CG).'
                    uc unit' g acts acokt.surni euL 4F;11.1 EtRtK Gctlit 1.2Lsxm.tts CCUCL1 qL.LC 4C(LLCO rA
                    CCM! 4C1-1,0 AMU° A4 NCAcC) LCcC1 CCA uncrau• LtCNAQ UCIC4.0 4(,XL NLI UCI,Llt/
                    ./KNU Z,i rado, qUcnao tccIcL MSc =LAU Ca. UNLE 4MA.! CcfiltC Catil L!LCNCILLC

                    CatA RQ                            LICICUL: rifi4T411 Zr,' Gitc4 KtNc ULICiNcl-
                    um-Aca uci,4' atu,41..c UUtA acetc4ei. ZOOZ nt coml. 4c1' eLeo444u xi. cowl cL.

             tLO coml.! 4e4lUt 4 NLIL`
             M.04 1.4rttcW: urn(ca               rnatt. LUl CAUL! 4L1 run. Z0.60.61 NI CCRKI... Liacti,L 4Cf.'

             WALCALtA) (Cia, SZa)' I-(AC/M-996t•
             kuak,co..1.1) (ad, SL J'               fir(N) 4fil CLCL C44,‘ LtNULtlLi 4KC(LL! (kLIALLt
             MAU Llitt<L,W CLtCttt QUI/ rcusu` rtco.0 4Gt 4tccb TS(N) 4 I act. uLuniti etctuti (cuu.0

             G" Lga440 (LcaK14 :           Zoit8Z6T ilvdtt)


                    CLC1KNL! ClG<RO% caul ULICAL! L!Cii; CtLCI CIL! qt‘Cp.LE La.4(.1 LLCI ECG WA 4N CGCK'

                    otemodcl Ez coma 4gal•
                    (ALRELJ Cat.CcALC ULC„C.! UNCALL: 12LCCISk` 1.1.NLS CN\L C4(C4s,Lr L.,L4c! UcL[LI.       ek.uve
                    acoto., o4c/i ci4t4L,c' unix ccucu qua 4eat.co            ncaca LCtC7 cc4 unarm.' ue4cIAL
                    eincL, oirqu' rocia 4rA.cu 05 IT'                  ucrck4 Alld einitt, uurcu L!`;,(C, CNC(RiltiS
                      c,(4.c4‘ts 1.4,(V    00f Ss£V aucuu Er/taw coca INC C41-tfAcC1 Nt racal 4d.* C,NUL
              8'    c‘Lo                ZO'80•ZO' AM., I                         uKau.t T IC CICVL UUCL,L!

                    turic(i.t. ccL;.I NLC CfC161LJC4L!LiC.ic
                    nccan CN(L ri.ousc ciaKL LILIT:4L! 1.2C//4' rttl: N‘CON' t:A(c4C1 fCCAl 6C3
              C     entui. 14‘10' Z0‘80.90'                  C4t1L RC7                          Cnn 4C tLi


                   .1=111 Witt. UCcte Ntirl (JAL. IgNACV CNCLL 4644' NAL. 12(.11 CtLCf CNC4KKI.LI WM4.1.
                    LIC(Lc1Cd: 4NUL acct. i.ekio' CL,C4N4LINI. CCSC4lL 4C1.1               LUCCa. cikAmm
              9'                   cal Nc                      LZ(CIA dirc Cic161 UC4L! C tLL Ccgt4S UCctLit

                 4C+ILLCC 11k4 NILUka coit.nc,44a LCa3 CC
                 ME,              CCIICUL 4JC0.1        and uuc4u cosuit 4LCC t4CtKKk Cat:Lo. 4,CLACI
                                                  ' LUCtCL!          naL. Ccdoi 4cIr4 CM61, UCALC IMMI
              c' CLNAclf utia NI,C180 ZOOZ'                               (CiCtal             cva iCo
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         ONi1            "NM                      09 aye) y.»o)                   ,tnn, -1 .1or2 InN5
                                                                            ,,urs"      31ot1i3 awno

         ny».s5                     nip     upp                                 ,crn,.1now7 1.p90 .7
               ,'),'fl 1:2Nro,Wrin 5v1 "WM'   n»inx rip31                                ,1111}3N1


         trim= 1,31nn      111 11 "Ml rinH                                rimon int,<5 .8
             v.»'» minim mrpon 510 nyvi y31 maYo „Pan 10                      4,31 wo,ori
                            ;1,59 IN-Int-4 1-1,1' nv.imn nt Ynn ba innN5 9.>-rin)

        .111121'0M }11)>5 YN715 TI111                                          p       n Ton
                                        .`51,311 )111-io toy in)..-2 nilartrin 91P9 9No5 Y1p ,1

        N13n           1111111           tly n55Nto-p ,t»m                         lovn 1nN5 .10
        varrii non                .111-taNnn yUV )IUn5 ErNmon 51•41Y1,swim 71r1a ovn
        193olio son 59 crrION1110   21Ir3 )3V) 131N»111NV c1pn5 5,31115 1>59 11,71»D IMM
        ,0) 1711                   5oo         to)vi)x 5v,) o511Y.35 or x5 nynoa nDul 91rio Dv.s
              nrpwri /5nno .5P.5 nrt2xnn =ID 1N.15 inn ovn 1nkg5 pal                    iyu
                                                         nyiroa n-r-r 1aV ' n rori ,)

        ',5171       51-13 ritnrni 1)5I2i 59              2 15 9113 ')5              ‘,7 Ton         .11
        nrraminn y131            wsz)                1 N171     yl3r3         .8r131,-11No N3n31-1
        71713 1)11>Y) 1:31V)Nrs lay5 pv.» op rp,twiny 1155rm IWO „ ,,IT) slInnVin S112,42
        7111132 nro 5o1 ,toon3Y )xv„,,)v.) '%).a rirynn          )Nsis) ion 1nr<51 rntinie.rn 05)N
         m tI5VI5,1t1 T915 a'nt'i                       .1v4xn 5.)3 on" ra,Ynx 5v1 C2711r 5 tn15
        5),3 1 snmov.in r)51N5 yt»                  .5't/n Tilrmion 0Th TIN piro5
        to-,NNr:»w t3'nl.n2,03 5vi      -pcno 55).2 poisma )won             NtS3" )11))1..,r   , 1
                                                                                                 ,1)
                                                                                            ,rolpna

        7t) 51195 TINNWITI (11s5 riyxiow 1311       )0.3                                       .12,
            nnlan Irvo `nit                   v.spn             .popinn nraN.nnn 1n),D
             .po1.1-oon ro-roxnnn yiro 5Y) 5y15 IINN1nn 71135 :1N.-t 5o ,tmiop pv..» )5o >3vi1
                                             .pwm "5551,p)ri 3wnn5 )1N-r5 rovon

        1Nr,)111/4. Amri m11at1 'my )5olp                                         Ern, -ovn "irliO .13
                 .0)113p 3111,452.1 nylant t Y "'MP' tapt3-3-r.r1 ,A9                n1nNO Dv), n

             TMD)r) NO)71 ..armn           1v41 NMIt'       v»o/                      11110 .14
        `'M                   oirfria c Imo pomnn ro-romin pan )11.Nn5 rIt•<.;t5 515',
                       ,nvoz,<T1 trIprp              5/1P.D nx 9.n5 pro lios9         anti)
        'upon xim 3/T112ia nnIvi irvinNW Trr)r) ,11:317Inn Tiri 4nrin                p1ri r,
                                                                      .11t1N 7 nalvb

        91N+25 ro,Nnu olpn                  5wo5 vp,  11                ow) mo                .15
        torpn          rvorT                 ,crw latm 11110 .poron nraN..rviri }Iwo
                                    .p 51n on n1-r2Nrs71r1 flPD.111s,25 0-1
                                                                          .010 t•onw znN-5310

                            111-117)311     tan)                f7o5 -pnvo IN 17.09.02• pro .16
                              .,p)m rnun ;Ix to5)95.).13 "t '31 DVat /YID 1nriN5 -room
                                              .18.0 9.02 tar,5          Oy 731>a ,59»n

        Nv_M Atl iV7 pDiron ninxrinn yrr. 9)NP5                                   ,19.09.02 o           .17
                                         117D2,7 DWZ,0711Y>11V./N,        nraann nnm      )D'n




                                                         38




                                                                                                              P7: 63
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                                                            6::




            1.111(Aita:11.1-Wt(02"
            zxtoLcia' Ca; TOZSOT6' dL 41LL        t7LULE N4CCi. CLCC-NE(C' CG4. fllC NL EGLC1 UNVALCI
            4c At ‘,41 Cu E9 CC u& vat.. cuLtu CLAFNU caluctxxux uuurc ucawri. ri"a and UUr..C1.1
            LICNIAC:1LIC“C' CC4Kack umaNL4Q tcLo UNcatc 1.2i-ZArtcCt 'Arad!' tLo rcitcu, {WAIL! ac LAM:
            tLQ Calt14 Catia ac NUL' LUttCI,'
            Gina 146Z4‘14: UCNACI LC.:{; Ul tNi.kt.t. lLt Clutgu  cdo ZO 60'61 Nt CC41.1t1...

            1.1.10.4.Ci LOX LVAC,s11-896
            1.1.41ALCA-0.) (Ctai 841)' Lco1/4 4,4-0461 t4t<<L 'T(N) CFl rim.. Ccck LoquLais            (cULL1.4
            MAU 14n0.14: tL4C(Lf CAW CCLitU l ACcL.14                 T5() CK1. tLCL UI LNlu EtaU0, (4.14.1-14

            ut.a      tmuL.: (c'N' ZO/VSZ6T i.Lght)

            uurAK‘o ‘WMCLC
            ENLC11.0.0' al, 1025016' dl            t cLuLE wcrtc Cu{-Nmcc' cc,-"( (AUtNl. rot.o UNcrAtC1
            .44th. L4' Et 6Z cattrt` WM. CULL CLAKNU CALLSGlgRllt 1.1CtUt UCALNC.L. t O C(Clitt uurcu
            ucxoe uc,(4: tarvit4A 1.2CULNLACI CQL.0 UNJALC1 utsrmtca ULM' CLCa CC1.1(4 CC40.1l o4
            rua cam:CCM-a (AC NUL' 1.14“0,'
            ct.n4             ucNaca 14t,,4" ut ZN411.L. Lul CtUtKU 4l' Cck0 ZO'60'61 Nl tcosCi. uacal. 4cL'

            1,14(M.C(La 1E040U-996r
            Luaccul) (cusi        is(6,4-026T tolitc6 bT(N) {Kt tin. C4144. UNULtl.LC c4tC(LL4 (.UU.0
            01.:1.14 UdZat,14.:         CCO.C1.4' rtZcLU CP‘ CSdcL TS(N) 4X1.. CLCL. UtLNLLI EkCIULI,

                         (c'W ZO/b8Z6T 0.4a)


                   taw(' NaL. CULL cutgxu                    acust ILL1C4L! cxatt. 4rEtc'
                   CCIft(Ac1, UULCI.NL(.0 <6c4' LI(NtA0 tLc CCUCL! 4C41,LIL (A< 4444. c4c4444.4tt    .41 Cl 6£

                 ur,;4' <c44. t_cr rAutt   Cad(CIUGtg1).' tcl <uctws uaCtiClic
             GG CLCI,RNL! ctuifoLggul uuur4 14CIIINCL dR aaKt. uLtc<u. UNCitt. crul ad. Lc cNkoLtka

                     4,4cois3 LaC CL4G<C1( CGc. t?1<.11.NL CGLCk U.Nd'ALCI UrNs.C1'
              I Z' attnxu calLsoISKILC UCtUCC, 14.C(LiNti. rtC2 niUct UUC41.2 IINCAL MCA, UtC LC 1.GKcALX

                  CGc (M.LLI.NL CCLCIc UNc710 L 0.24,0"
             OZ' CULKNU aULMIAKLIS uciucc, LIC(LiNC.L. rto CILIA UUCC14 UNC(LL' tULCL otou

                                      uc(citu ,IME‘ CULL ctstnNu c(c(Kt), c4a61. uut<t2
                   (It" tutu CCUCti CtLIC CCCI.Lca       NcA4c t.r.ta CC{ UNGOIL' 1.1C{ULC            MI
                   cra(s01`          UG1{14 NU uttus ticqk' NUCL! ctFL umaa' (AcrAN d4 ttQl. tri.a <G(KLK
                   (A< ,LL'         TOZ50T6` CLULC NCtti. fib CLEC-NEcC' C L CrAumntrta'uri,< ui-rutc
             61' caati, <raftt2 5s :re MAO ZO'60.6e Nl ECIVL UCIC{11, Act.'            ic4ti <xtotEta Eck t,

                   NtacO LE‘CI CC{ 14(4, iii*
                   NLC         CULL'aRK (ACL, (CCSN.:C1 NCrhi.C3 l.Cta u u rtC CitL: (ALIG4..Ki.}k ctLACI fn,;
             81'                La,,ft Nu         ELcEt CL{C-NC(C- tUtkaa {U{-NCatl /NMI. LI.CUU
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             u'ti t0,0C                                       06




             UCA,L, tEoCtii. N44t Cf(LILIG&KII'
             CLRKNU CAILICA,Kgtli UOUL4 tICILINCL (CC1 GCIi<l LUC4L CGRtIl C-1/8 ;C4 244.32          tNttlirta
             ULC(Art40 tiCiNtlf.-
             UNLcutta'            TOZSOT6' Cut „LL.,     CLUIC N4Cc4 Cll-NttCl Ca ISLA/qt. tGLC UNtcALCI
             a< cc, uNcrAa3 )U?L u<L cackcut ac„ uauc4 uciuNcL" 'U?L                         rto cocci uurcu
             urwAca                    ucluo4L4c) cr4Lck UNtalC3 L',14(AfttG       CccIU ctLict ECtittl cCRUCI
             CcOU 41..t.C3 Cala! 4Ctlill ITC, NUL' LUt4C1'
             GLa, 1.14;41.it: umna 1.4(4'         C/44ILL 4.111 ClUtRU     LIAO ZO'60'6I xt tal61. ucacaL 4c1.'

             (c12LLU LUAlCiLli)‘ IVAC,;LI-896'r'
             (41ILLU kurmatAL)       8/..0 LCA,(4-0/61 lacc‘cca tt(N) 1-6T qt. ;LEL C444 UNULALC 4rlZ4Lil
             C411iLt         ucka ctL4C(11 mus ccucu` 6co..0 ccc ar(ay tc(N) Cxt CL L uto,nu tcouLl

             GLA          t4C44A1.4t (C'w ZO/V8Z6T 444a)


             uuosc,ci
             CNICtlCia"          TOZSOT6' tit      t' ELUL; N4CC't CLC4-NC4C' CGt aukNa. T.',C;LCS UNtAtO
             'CrACL, 4,r4' ti é'       NaL, CULt ClagNU QULCGIAKI.LI tICAUCCI UCIUNOL         OCAL UUC4U
             um-ma uc,,c," ccom,.1. UOLUNL(O cgLo UNtchiC1 Uwaisca tUritKUI rip tOtt.CLI 4C"lltil 014 4tCt.ti
             tLO CCIACU4cturi a4 NUL' LUttCl:
             c4a4 uogd.w. u(strAcl uc„c'      cr,h1t,t_ Lul OLKKU    Zci0 Z0.60.6T Kl carol UCICaL 4c1'

             tuatcrul.)' ISACcrU-8961-
             tilrAlCiLli) (CO(                     larta.? tri(N) C,K1 C.LEL CCP, UNULciLl 4t.tEtt.Lt (WW2
             vutu unt<0.4: rL<atr Ctittl CCUCL:' i'CCtLi! 4oc ag46 IS(N) 4gt U.:EL LIILNlit t4C1Ull (WILL

             •         NV tKL CLt (G'K' ZO/178Z6T 41.4t()


             LI,LSGitt<OiLCIAttll'
             Exicucia' at' TOZSOT6'                     cLutc r24CLc rif4-NttC' CGt RILL EGLC1 LINtretla
             uto.v        rl 6.1 CC.4lla' rum_ CULT CULL aUtyGlKKIiS LCdUC4 UCIIINZL (CO C(CUCL Ili1"C4U
             tlOttrAO        tC.460iti ucan.NL‘ci CGLL1 ut,kr1l.0 utiaitoz turAtIu' (La ccucu 4ciust. rn4 414la1i
             tLC1 ECILCU 4ctUI (K NUL' LUtak
             G4c14 uKg<44: Ll(rVACI tIC4(4' Ili CNcUL tuI C41.11.KU       t:tICT z0.60'6I NI ;COAL uacaL c,c1.'

             tucAtaulY vac,,u-896T -
             tuaLgut) Caa. szq Lta4-0z6r Latta) 17L'N) C,KL Ct.CL C44t UNULtili sIttLLI WALL;
             Malt L'Ar<1.1": tl.tC(LC atilt CCUCU' 4G4 Oita) T'S(N) cgt tLtL Ult.Nit2 tcClULI WALL!

             C4C1 CO214 LactrALI: (014' ZO/V8Z6t



             UlilUctO Luaitu.
             uuc4u LNLcuta'            TOZSOT6' Ll WA', CLUtC Mgt< CL(C,-NEtt. CC+. atLCINL EC3LO ux.cm.cs
             act-am 1n4' cu 64 ;CULL& NAL CUL(Lt CUIRNU C(UtIGASKiLt L4Citlt tIC(LCNCL KO QOM.
             ucmAO           CCittrAti LICULNLAO CLt't UNtALC:1 uutmLa u..crmcu' tLQ tcusu 4c(,ssu rn4 t014
             t1-0 CcMU 4citut rn4 NUL' LUttCl;
             04414 4etr(i4LI: LANAC3 LIC,4` ul CNcUL tul autru 4' C410 .0.60- 61 Nt CCAUtL

                           tSRIC“- U-896I .
             kW-AMU)               S4£)` liaur4-016T LcIfcla i;T(N) 4Kt CltL c44< UNULtiLC 46t17.cLU
             C414t14            tL.4Cill C4ULC ECLI.CU' KrALLLI c;c4 cut46 ts(N) cgl 'CLCL    EtetUll

             Goa Ci 24 k4 VAC4+el l (G'St . ZO/b8Zbi
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            fa LE EC,CE:t                                      Ii'




                       LC-NICLCI'     u Eau au4.t1 Enclua UCUcI CO UAL. Cc Clan.           C4LENCI. CCicK Nzu
                                     (.au 4u‘ccra {Ctarci.0 .Lazuu„ uccirxL.c cLutc uLt.4 at:41.N (Occ{LC

                        CU NtCfAcC1 LC:XI
                        CU'{-74C,C tUCUL N1L LNULII {GIK,                             (rot             atara.L.: rAca
                 8      cam!. cinsTu 5T :OZ' tkir2 ZO'Or •Tr. “M.01, utt,c1.                           tc1“.41s UUllr

                       1.1LUNCLILI UCt Lsicrt•
                                                              4t44-14'CiC rtc, C L rAliNZULLI. cCcif (ACI NILE Gc<I,6

                        utt.trACV
                                       U4CcA 64 um rA4    1115 UCLLLS uicK' NrAL xtuu 0.KL
                     CNZ-LNZCI:          LaCcl, {rCcgl- {I.C(AcC3 lC<KL C4G64cca NLC UCLLLf
                 9- cc.Lca Z0'0111 “IMEMII, t.!7_04 Nla      CICCL i(LNCLI {1..t1-14 L:C1{1141:-

                       Lck1ll Cc Nclit.. t"ACc C46i,attS r1S4-Xtct LIC11.cm.cim 4E4KlaS CcriA LliliN/CLILE LIU:AC
                               adka c4uN4o cccRT(T cau; uuxr.t.i.tz ilaw.rct• {NUL uacL. cacco'
                 c                          tr,;(rA CQ KO                       12C4C1CLI =Mt' LULU: {NtULLI.

                     uuLENcLus Ltc(istcc1.•
                 t. {KILL GIclACI Liacla LtC,r{`                         C-ccia Nu                    {CccUt 1.54Y:tri

                       UrgeAcl-
                       4l_ttg.c.N {Gig Cc.Vat LLENCIALE flat, CNKigIct.l.i UCCLIS            N.IlLtt! ccKL        ItI.
                               EcKUS L!Cratic U;ILEINt. CCU\ UNV/Mc LISlACC.O LISCAKL!'                      L'U{cCI

                       AlaNL CCU% urzoLo L:LCCA:Sca Waal'
                       Z.,'    R•CNc. CNL'CIL uucNcA' WeAL INC 4u4to...t                                         CGc
                       ucNao Lucca.. mc (MSc UCLULf LICG 4eLt

                       ONLC CG.41M.ttN.V., CGLCI UN:Oka 1.2.0.711‘ccal.t.f041:.'
                       CG}.       Cc.g1.6 Cctlitc LINCIALC CatCL: qt_to 4uttio      woto
                                                                                     COL.Ekc CC{ tirtGrat.'
                       UMACT          C1IL1c{L.0 ULIA aGavct_ 'Nor' ct.co.t4u NIL cam!. 4c1: cl.KL uto..tu

            ccau          ccucu gnus. i•A Nut: tutat:
                     1441r41.44: uwaci uc.,4' ut. 040.0. wi CAILKU        r4t0 ZO'OT'it Nl CCM.L L!CICILL {CL'

            (cLICLL CLACC(La)' LitaC,,U-9961-
            (cLALL tufaivuL) (cta, 84i)' urA,,4-0,46T lcuTccka VI(N) k.-61 ctgi. CLCL c4c4. LINZUL41.14 {:crktu
            CtISILE        Ccaca. 4TI—cci1z COLD CCUCL!' KCcLI.: {Cc CIafc.6 15(N) {gt CLCL. LRI-NaLC Calt.111

            CLL1 C4N4I4 tattct.::   (0.x. zoirrorz 4444)

                    uszrAt. carci C4StRN11.2C1C4 0. c.mitt uur4u` xcut         ucm-Aca
            LCC CICiCca. k{LICLcILC MU% (tad IINLIct, CLLCIS cidla L:Cslag 12C4LLINZI..                 Lf.t.CMitc.0
            CCL {N1tOLCI,C1*        TOZSOT6' rACC:111 Z(.11. b rA4 r,LL MARC NI{Ctc CL'i{-NiCcL I.Ct CUD Ckd 4C{c
            UCNeAr1 UC1,4' CC.4r{rAct.          CCLCI t.I11cAlC3 ULCOacia              'CLO ccad. tac,r2 ci.41 ttd
            LLa LCIA NV. CX6 CI. ZE(IAL td-A4N       1.1.1cal
            cLa4 u•tc444: UOWO ucA` LI iNcItl.                        {l' c(ta TTY60'6T Nt twati_ uocaL

            kurAtclu,l)' LCrc,,U-896E
            tur-mciLai (Cio. 8Zi)'                LcacCi.t) b T(N) C.LCL C4c. UNULW CiW LU (cilt.LU
                               LIckd C31.1k 4LCLAI REcLL: 4Gc (Ia) c5t         LRLN/ILi rkcitAt. (cuti.0

            GLa cow ta‘rnu:               zoit8z6T 41.41()
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                                                                    L't




            XCIC,.NICk G4C1C14.Ce ANAL Ca      44C11.1.                      UC4L2'
                                     CO..±CMACI C,dtC,                           urtcLuca 4GlCc4c
            LIUt41.1
                    ULICNC1` EMALL 1...CO.N4Le 1.1..facklal 4m.= Litguo Ut.LNIAS 4ttF1L utca.c um),
            1=1' L.2aCt.CLI leCcNU L,i All rIMMILI` LT.VA •CLUA.                    cloNcL,' 1.111-.1.6 uscutu ac
            uNati                     UNCO.L,'             ).1l cowl ccL' uKca. 4,1.4
            All CcgIC 014 LUX CC, PLUIA ClACt4 ULTNUL111 ccut causus'
            aLcu 1.40M4Lt.:: L2CWACI laff4' ZN44L1.,' 7..LILSc411 atu EGOZ A l rackl. ccL' Kau (CCU-L1 CC, al-14.W

            LIUCC1.2. ((Mu u(Ltay stst .
            r.41404 Lucc4t.6r. ckgkrc aLLut 60.- L21..M.11..LIC rcti. CILLSLLC' (CCO...1.! C,Gt LCCICLI 58(i)(t) 1,LIC-1(11.1

            qi.‘1C4X14.1.110.0V..:


            CCiL14.1.,                         LICWACI luAIi a LIC44 Ucl LALC,L.
            LaCrAcl C14C4.1. C1{1.41-c'
            crtLL ucrtcu cm/cc( LJE42.' kcl mart, ucitcu 4ca16t1/4 UCcL! UCO.L.CC4.0 co1Cl1' aca LuL6
            cauct Lt.NLC(1.1. LA2CtlL LICNAI:1 C,,c.C.41- NU' LIN!..C3 L!C,4 4uFL C4C12CCi.         attt4..C:1 1...k71C44m.C1
              CLl1c c(& N-14 A2c C..1.41NCIfi EMAIL L.CCN4,41.2"
            ?U\L CAC,U M4d.                                                    uccuu                     /Wu' I.).ZO.
            1.10,4AC1 UCA,4` CCM/. INCit.t.' tt-00.2ct,l! AIL CQCIIL ccL' u6ca. xcUll FD' c cx?La' LC VAC ACCI`
            NIX& AlcIXU KCM, cCrul Atl tuc,Nciz Lci.K4.44.C1‘ i4cLitus Ni tufti,CLU Vic14.1 KET,24.4.Q' LLccCL
            ot.ck Ur ,U: UCNCAQ ur,,c'                    cuu.a GCLIAIL woz All racal                uLtNcil' Nkat Ttl


            ctuur 41%s4L.:: WC-CIAO RCN/.1.0 (41./                 o..1.1 f,C. tsda.! z9
                                                                  Kr                                               1.1cLi.Q/'

            Mat CNU ttl.E4C14-:


                    UNGati..•
               0I   CrAftrAct 1.4aLri.NL.cca c,K44' 1.!CNan I4C,4 Caau 4eLttl ZCILCU 4C41.110                   LC4.1:1 CCC.,

                    CiNECIU4C C111GI.0 00.2Xcirl 4C(C.R0'
                    CCoallt. GC<,Clu•               (cau <L14.c.i4ct quc(clicv AIL tuca cxuL. ciL.L6 Lcchtsf ac
Case 1:04-cv-00397-GBD-RLE                    Document 909-73                   Filed 05/13/15               Page 27 of 27




                                                                                                   nytann

             42,03.03 01,t0 twiron 3111)1M Dal))                   p"ri5
             or:3 0,N.)71 1•)1 la lfYl .71)))*fl V.inVi 22.05.03 t:311131 15.05.03 ,30.03.03 43.03.03
                                                                       [CIVI•On ,.)•1-3,-a3on -Tr's + 30.03.03
                     (12.05.03 n1>0 oimn ynnx n:1)I                         p,,r0                               .2
                                               .12.05.03 orn °mon Dv) ns1i*,r) miNa prf 51121t1M .3
                                                                  (')IYY) .                ,1•11                .4
                                                    (11s31)                   .1.31                             .5
                                  (976/02 .31.31) NSA                                                           .6
                                    (241/03 ,n.n) (msA                                                          .7
                          (210/03 ,31,31) (1) ))) .                  .1.31                                      .8
                                                         C- >tiN)                  •1-31                        .9
                                                (-15t3i•<)
                                                               (*Inn.° .                 .1.31                 .11
                                                      (4rtm)1111111111111.1.31                                 .12
                                     (889/02 .31.311 (11sA                                                     .13
                                       (888/02 .n.31) (1oss0 .
                                          (846/01 ..31,11) (1)nq                                               .15
                            (815/01 sin) (rn1NA                       )x-ro )1D-17                             .16
                          (344/02 .3141) (-PUN)                                                                .17
                                  (444/02 .n.n) (11.8)1                      .t.n                              .18
                                     (946/02 .n.n) (11S>J1                      .1.31                          .19



         -rnr)2. ,IMS71 ripni ,;1P231i1              lvo/31 c:N•z3n .N.W1 1Trnn tM)DVTI tn't.si nvieri
                                                                                                  1.1pv.)pri
                                                                                    )1) s 6554/01      .2
                                                                                 31111* 6891/01        .2
                                                                                   vs 10283/01         .3
                                                                                 ny-on 1512/02         .4
                                                                                    vto 5601/02        .5
                                                                                 )1)515)2881/02        .6
                                                                                     -t15 3975/02      .7
                                                                                Flinn 1 9913/02        .8
                                                                                    05/1 1197/02       ,9
                                                                               5,•5wrii 9638/02       .10
                                                                                 ilp-r 19284/02       .11
                                                                                 117-rI 21011/02      .12




                      .?.-/ •

        ,Nas                     Y1)71

                                                                                           29.05.2003 ; Tirol
                                                                                             38 0-03 :rain,r,




                                                           43                                           3€0g” .P.ri




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